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                             Exhibit 1
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     h q a[ e                            ætd                *                      JUDICIAL DISTRICJ OUI

    VERSUS                                                  *        DOCKET NUMBER:                                 Ii .

                           6         2 A/e- Odød1*                                           PARISH, OF I                   A


                                              In Forma Pauperis Affidavit                                                    ~A

                                         All questions must be answered in full.

    Note: Questions 2 and 3 should not be filled in if you are seeking protection from abuse.

    1. Your Full Name:                        Onk%4 yy)clo                         St)/canh

        Social Security Number (Optional):              y 99 -OZ                   Date of Birth:       0% oQ >qqo

        Age:                                                                                            Sex:

.   2. Address: cd 03 &n                                                 miaodccave                              ¯ 10\ b
                           (Box Number or Street Address)                 (City and State)                      (Zip Code)
                           (See Note above)

    3. Telephone Number(s): (HOME)                                             (WORK)
                            (See Note above)

    4. Are you a Student?                      S        O If yes, please indicate the name of the school you
       are attending:                                                    Enrollment Status:

    5. Current Household:
       Single:     Married:     Separated:      Divorced:      Widowed:      Intimate partner:
       How many children do you support who are under 18?         \
       How many children live with you?     \        Do you have any other dependents?
       State the Name, Age and Relationship to you of the children and dependents:
         NAME                                                                            AGE        RELATIONSHIP
            Åg . rM bi0r   by                                                         | 1            GO10
           Lcchcm rwtch¬r¬ravaan                                                       x            secx



    6. What is your current Occupation?T                     Are you employed?                                  S          O
       (If yes, please complete the following Employer Information)
       Name of Employer: bb Cæve
       Address:íD he r h hM ( 0                                  rn 4 o                                              (f3
             .             (Street Address)                     (City and State)                               (Zip Code)
        Telephone Number:9 B-                  r] -Q9 ¶                How long have you been employed?¿2

        (If you are not employed, please provide information of your last employer)
        Name of last employer:
        Address:
                           (Street Address)                 (City and State)                                   (Zip Code)
        How long have you been unemployed?
        What were your monthly wages?

    7. Gross Income: (a) State your gross earned incong from wages and how you are aid:
       Weekly?      Bi-Weekly?|_|Monthly? l_,[I                   Amount/month      $0C\

        (b) Apart om income or support liste in response to question 8(b) below, how much other
        income do you receive on a monthly basis?                                   $

        (c) Monthly Deductions: Federal Income Tax: $                           FICA: $                    $

        (d) Other deductions: (explain)

         TOTAL NET MONTHLY INCOME: (Add question 7 (a) +                                       s    )
    Revised october 2003                                                                                            Page 1 of 4
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8(a). If you are married and live with a spouse, please answer:
Is your spouse employed? F 4        What is the occupation of your spouse?
Is your spouse paid Weekly?       Bi-Weekly?       Monthly?      Amount/mo th $
Name of spouse's employer:         P/ A
Address:            (h
                       (Street Address)              (City and State)                       (Zip Code)
Telephone Number:                                    How long has spouse been employed? d/(4

8(b). Do you or your spouse receive any of the following income or support?           S                  NO
   If yes, state the monthly amount. SSI: $           A       Disability: $
   Worker's Comp: $                   Unemployment Benefits: $ Q
   Food Stamps: $63Lo. OD         TANF: $                     Child Support: $      /A
   Spousal Support: $            Kinship Care Subsidy Grant: $ Ñ             Other: $

If you are a client of a legal services program funded by the Legal Service Corporation or a
Pro Bono Project that receives referrals from a legal services program and have a
combined income from questions 7 and 8 that is less than or equal to 125% of the federal
poverty level, skip all parts of question 9, and continue with question 10 on the next page.

9. Do you own or have an interest in any of the following? (Including community property)
A.                                                  VALUE OF INTEREST                BALANCE OWED
 HOUSE                                              $                            $
 AUTOMOBILE                                         $     (d                     $
 TRUCK                                              $     N                      $
 WATERCRAFT                                         $                            $
 LIVESTOCK                                          $                            $
 MACHINERY                                          $                            $
 STOCK                                              $


 OTHER IMMOVABLE PROPERTY                           E uity $                     Debt $
DO YOU HAVE A BANK ACCOUNT(S)? __YES                             NO Amount in account(s): $
     CHECKING                   SAVINGS     Name and Location of Bank:         \NI
TOTAL VALUE OF ASSETS: $ b

B. i. List your Monthly Expenses:
 Rent: $                                  Cable: $                             Car Note: $ h k
 Lot Rent: $    d| (                      Garbage: $                           Car Insurance: $ BJ
 House Note: $                            Medical Insurance: $           v\    Transportation: $                 o
 House Insurance: $                       Medical Expenses: $           cd     Food: $..
 Gas: $ Q ( k                             Dental Expenses: $            cQ     Barber/ Beauty: $
 Electricity: $                           Prescriptions: $                     Entertainment: $
 Water: $                                 Life Insurance: $                    Grooming Supplies: $
 Telephone: $                             Daycare: $                           Garnishment: $ d ( 6
 Property Taxes: $                        Child Support: $                     Other: $ <
Total Amount of section i:                                                           $3 272/.dD

ii. Credit cards: (List type of card and monthly payment)
Card Name                                                                     Montply Payment
      rJ l\                                               $                     N




Total Amount of section ii:                                                          $

iii. Financial Loans: (List the financial institution and your monthly payment)
Financial Name                                                                Monthly Payment




Total Amou it 6f section iii:                                                        $

TOTAL MONTHLY EXPENSES: (Add 9B (i+ii+iii) =Total Monthly Expenses) $


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10. Does anyone regularly help you pay your expenses?                                         S          O
(a) If yes, s    that person's name and relationship to you.
     Name: ) (byhtÃ-\ef                                          Relationship:     p(b4 uu/ /
(b). Do you have any additional income or assets that are not shown above?             YES ÜO
     If you answered yes to either (a) or (b), please explain:




11. If you have an attorney, what arrangements have you made to pay your attorney's fee?
     What amount, if any, have you aid? (You are required to answer fully.)
                       J                          -J



12. Has your attorney or the Notary Public told you that you may go to il if
    intentionally give a false answer to any of the above questions?  YES                            O


                                     MOVER'S AFFIDAVIT
STATE OF LOUISIANA
PARISH OF     D RÉWÍ
          BEFORE ME the undersigned authority personally came and appeared:
                               T>'iRDNiF5&A 7. A LE¼ßN.bER
          who, after being duly sworn, deposed and said:

     1. He/She provided the information above; that the information is furnished to the court for
        the purpose of requesting permission to litigate the above captioned lawsuit without
        paying the costs in advance or as they accrue or furnishing security therefor.

    2. That the above information is a true and correct statement of his/her financial condition.

     3. That the pleading and all allegations of fact therein are true and correct; and that
        because of his/her poverty and want of means, he/she is unable to pay the costs of court
        in advance or as they accrue, nor is he/she able to provide security therefor.

    4. He/She has read and understands the privilege contained in the notice below.

                                               NOTICE
  Although you may be granted the privilege of proceeding without prepayment of costs,
SHOULD JUDGMENT BE RENDERED AGAINST YOU, YOUR STATUS AS A
PAUPER DOES NOT RELIEVE YOU OF THE OBLIGATION TO PAY THESE COSTS.

    The privilege to proceed IN FORMA PA UPERIS is restricted to litigants who are clearly
entitled to do so, with due regard to the nature of the proceeding, the court costs which otherwise
would have to be paid, and the ability of the litigant to pay them or to furnish security therefor,
so that the indiscriminate filing of lawsuits may be discouraged, without depriving a litigant of
the benefit of proceeding in forma pauperis if he/she is entitled to do so.



                                                                            o er's Signature


       SWORN TO AND SUBSCRIBEI] BEFORE M , a Notary Public in §#AA)
Louisiana, this M day of      A , 2(KIL



                                                                 OTARYoV         LKÃ.
                                                                      ELIZABETH HARVE
                                                                      NOTARY ID # 38258
                                                                      STATE OF LOUISlANE
                                                                      PARISH OF ORLEAKS
Revised october 2003                                                My Commission is for Ü.       Page 3 f 4
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                                      THIRD PARTY AFFIDAVIT


STATE OF LOUISIANA
PARISH OF 01d µ[

        BEFORE ME, personally came and appeared: ÜA\/bnTE RENE Ri6thg.0
who, after being sworn, deposed and said that he/she knows fríE Onic ¢R4 kl..R)Ob'D6
well and that he/she knows that because of his/her poverty and want of means, he/she is unable
to pay the costs of court in advance or as they accrue, nor is he/she able to provide bond therefor.



                                                                               Signature of Witness


       SWORN TO AND SUBSCRIBED BEFO                               ME, a Notary Public in
Louisiana, this Ü day of Dh M 2                               .



                                                                    NÓTAl             C         0F IClÄÍ. SEAL
                                                                                             ELIZABETH HARVEY
                                                                                             NOTARY4D-#38258
                                                                                             STATE OF LOUISlANA
                                                                                             PARISH OF ORLEÁNS
                                                                                           My Commission is for Effe

                       LEGAL SERVICE PROGRAMS' DECLARATION
        I ATTEST that I am a duly authorized representative of a Legal Services Program funded
by the Legal Service Corporation or a Pro Bqno Project that receives referrals from one of these
Legal Service Programs, and that        RCm E5tf¾ At.PypDEMas produced evidence
that he/she receives public assistance benefits, or that he/she has qualified to receive free legal
services based on his/her income being less than or equal to 125% of the federal poverty level
and therefore is entitled to a rebuttable presumption that he/she is entitled to the privilege of
litigating without prior payment of costs.


                                               Legal Services Prog m or Pr Bono Project Representative




                                                       ORDER
        Considering the foregoing Pleading and Affidavits:
let                                         prosecute or defend this litigation in accordance with
Louisiana Code of Civil Procedure, Article 5181, et. seq., without paying the costs in advance or
as they accrue or furnishing security therefor.

          THUS, READ AND SIGNED, this                         day of                       , 200__, in
                           , Louisiana.



                                                                            DISTRICT JUDGE




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                                                                                     VERlRB               Page 4 of 4
http://www.lasc.org/rules/dist.ct/CoURTRULESAPPENDIX8.0.PDF
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                  CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS c
                                 STATE OF LOUISIANA                c
          NO. » ò ) Q _, U                                                             DiviÈÍÁh:
                                    BYRONIESHA ALEXANDER

                                                VERSUS

                           HOUSING AUTHORITY OF NEW ORLEANS

    FILED:
                                                                    DEPUTY CLERK

         EMERGENCY MOTION FOR STAY OF HOUSING AUTHORITY DECISION
                        PENDING JUDICIAL REVIEW

           Plaintiff BYRONIESHA ALEXANDER who!moyes for a stay order to prevent

    Defendant Housing Authority ofNew Orleans ("HAl¶O") from terminating the Housing

    Assistance Payments to Ms. Alexander's landlord, set to occur on December 31, 2024.

           As laid out in her Memorandum in support, lVIs. Alexander is likely to succeed on the

    merits of her case because HANO's hearing decisionito terminate her assistance is arbitrary and

    capricious and contrary to HANO's own policy. Moreover, Ms. Alexander and her 14 year-old

    child with a disability face irreparable harm in the foän of certain eviction and homelessness if

    HANO's action is not stayed until the Court can revi w its action. Further, Ms. Alexander would

    be unable to enter a new lease for the foreseeable future should HANO's decision go into effect

    and later be reversed. This is because she lacks fundsito pay first month's rent plus deposit as

    required to enter most new rental agreements..



                                                  Respectfully submitted:

                                                  SOUTHEAST LOUISIANA LEGAL SERVICES

                                                  By:
                                                  JACKNUSE, LSBA #36237
                                                  1340 Poydras St. Suite 600
.                                                 New Orleans, Louisiana 70112-2401
                                                  Telephone: (504) 529-1000, ext. 612
                                                  Fax: (504) 596-2241
                                                 jmuse@slls.org
                                                 Attorneyfor PlaintiffByroniesha Alëxander
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                                    CERTIFICATE!OF SERVICE

       I, the undersigned, do certify that a copy of thh above motion has been served upon

Defendant, by first class mail and electronic mail this L   day of hh e m b v , 2024.



                                             Paul Tassin, LSBA #40069




                                                2
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                CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS                                        .
                               STATE OF LOUISIANA
      NO.                                                                            Division:
                                  BYRONIESHA ALEXANDER

                                               VERSUS

                         HOUSING AUTHORITY OF NEW ORLEANS

FILED:
                                                                    DEPUTY CLERK


                                             STAY ORDER
                                         .               I



         Considering the Emergency Motion for Stay of Housing Authority Decision Pending

Judicial Review, the irreparable injury at issue, and the plausible merit of the petition, and this

Court's authority in para materia to the statutory auth rization under La. R.S. 49:978.1 to issue

an ex parte stay while the case is on judicial review:

         IT IS ORDERED that the hearing decision dàted November 18, 2024, terminating Ms.

Alexander's housing assistance as of December, 2024 is STAYED until further order of this

Court;

         [and/or]

         IT IS FURTHER ORDERED that if the Housing Authority of New Orleans wishes to

terminate the stay it shall show cause ön the            ! day of                   , 2025 at

                    o'clock _.m., why HANO should not be stayed from terminating Ms.

Alexander's assistance, set to terminate on Decembed 31, 2024, or may at a later date file a Rule

to Show Cause why the stay should not be terminated

         [and if a hearing is ordered]




                                                                                    VERIFIE
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          IT IS FURTHER ORDERED that if Defendant seeks to have the Court's stay decision

be based on the administrative record, at least 3 worldng days before the hearing Defendant shall

file with the Court and deliver to Plaintiff's counsel a complete copy of the administrative

record.

          Signed in New Orleans, Louisiana on                                            , 2024,

at                 o'clock _.m.                         I




                                                JUDGE


Service instructions on next page.




                                                            I




                                                            I




                                                        I




                                                 4
                                                                        VERI IB
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Please Serve:

Housing Authority of New Orleans
Through Counsel, Tiffany Boveland
4100 Touro St.
New Orleans, LA 70122




                                         s
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                   CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
                                  STATE OF LOIJISIANA
          NO.                                                                          Division:
                                     BYRONIESHA ALÉXANDER

                                                 VERSUS

                            HOUSING AUTHORITY OF NEW ORLEANS

    FILED:
                                                                    DEPUTY CLERK

          MEMORANDUM IN SUPPORT OF EME1 GENCY MOTION FOR STAY OF
            HOUSING AUTHORITY DECISION PÉNDING JUDICIAL REVIEW


       L INTRODUCTION

             The underlying petition for remand arises from the Housing Authority of New Orleans'

    decision to uphold the termination of Ms. Alexander'h Housing Choice Voucher Program

    ("HCVP") benefits. Unless immediately stayed, Ms. Alexander's termination will go into effect

    on December 31, 2024, and HANO will cease making Housing Assistance Payments to Ms.

.   Alexander's landlord as of January 1, 2024. Ms. Alexander cannot afford to pay the full rent by

    herself because of her limited income.¹Immediately hereafter, Ms. Alexander's landlord can file

    a petition to evict Ms. Alexander from her home for nonpayment of rent. If this happens, Ms.

    Alexander and her child will be rendered honieless and will suffer severe emotional, academic,

    and economic harm.

             There is no specific statute governing the judicial review, but courts have recognized a

    right to judicial review as to agencies outside the staté's Administrative Procedure Act and have

    applied similar procedure by analogy. La. R.S. § 49:978.1 in the Louisiana Administrative

    Procedure Act authorizes an exparte stay.

       II.      STAY PROCEDURE

             The judicial review procedures.of the Louisiana Administrative Procedures Act

    ("LAPA") permit a reviewing court to order "a stay e parte upon appropriate terms . . . ." La.



    ¹All supporting factual allegations are verified by Pldintiff Byroniesha Alexander in her
    accompanying Petition for Judicial Review of Housirig Authority Decision to Terminate Housing
    Assistance. Except for some facts supporting irreparable injury, these same facts will appear in
    the hearing record, once compiled for the Court by Dhfendant.
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R.S. § 49:978.1(C) (emphasis added). LAPA does no) apply to local housing authorities, which

are political subdivisions of the state. La. R.S. 40:406(B) (exempting housing authorities from

LAPA); La. R.S. § 49:951(3) (specifying state agene es are subject to the LAPA). However,

where "no standard ofjudicial review is set out in the law . . . the most logical standard is that set

forth in . . . analogous, cases ... and. . . under the Adtninistrative Procedure Act." Messina v.

Rapides Par. Police Jury, 373 So. 2d 745, 749 (La. pp. 3d Cir. 1979), writ denied, 376 So. 2d

1268 (La. 1979).2
       Notably at least one Louisiana Court of Appeal has upheld a stay of a housing authority's

decision to terminate a participant's Housing Choice Voucher Program benefits during judicial

review. Williams v. Hous. Auth. ofCity ofSlidell, No. 2015 CA 0624, 2015 WL 6951286 (La.

App. 1st Cir. Nov. 9, 2015) (styled as a preliminary i junction).

        The LAPA provision permitting a stay is not nique. Judicial reviews that get filed

directly in the Courts of Appeal are also explicitly subject to a stay: "A stay pending review by

the Court of Appeal of any ruling or decision of an administrative body may be granted either by

that body or by the Court of Appeal only in those mahers where the authority is expressly

granted by law or in exercise of supervisory jurisdiction by the Court of Appeal." La. Unif. R.

Cts. App. 3-1.4.
        The LAPA provides that in ordering an expatte stay, the Court may also choose to

"require that the stay be granted in accordance with the local rules of the reviewing court

pertaining to injunctive relief and the issuance of temporary restraining orders." La. R.S. §

49:978.1. The Orleans Local Rule on Duty Judges provides with regard to administrative stays

that they are to be heard by the Duty Judge and coundel should certify as to notice to opposing

counsel and support the irreparable injury in verified petition or affidavits, at 1(F):

                   All requests for an administrative staylmust be presented to the Duty
                   Judge and will be processed similar to ja request for a temporary
                   restraining order (CCP Art. 3603) in the following manner:

                   an application for an administrative st y must be by a verified petition of
                   appeal and/or by supporting affidavits|stating specific facts which show
                   that immediate and irreparable injury, loss or damage will result to the
                   applicant before the adverse party or his attorney can be heard in

2 Decided just prior to the amendment of LAPA on June 20, 1979; rehearing denied on August
15, 1979.
               .                                          l
                                                    7
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                 opposition to the granting of the admi istrative stay and the applicant or
                 his attorney must certify to the Court in writing what efforts have been
                 made to give notice to the adverse parp of the request for an
                 administrative stay or tlie reasons supporting his claim that notice would
                 not be given to the adverse party.

          As such, this Court can grant relief exparte. similar to a temporary restraining order, and
                                                         I                   ·

The Order provided with this motion then allows Defendant counsel to be heard as to the

continuing status of the stay order if they wish to contest it, with the Court setting a date for this

hearing. It also allows HANO to pass on that hearing and file a later Rule to Show cause if it

wants.

          Counsel's certification of notice appears as Exhibit 1.

          The factors Louisiana courts have considered When determining whether a stay of an

administrative adjudication decision pending judicial review is appropriate are:

          (1) Has the petitioner made a strong showing that he is likely to prevail on the merits?
          (2) Has the petitioner shown that without sucli relief, he will sustain irreparable injury?
          (3) Would the issuance of the stay order substlantially harm other parties interested in the
          proceedings?
          (4) Where does the public interest lie?

Summers v. Sutton, 428 So. 2d 1121, 1125 (La. App. 1st Cir. 1983) (citing Virginia Petroleum

Jobbers Ass'n v. Fed. Power Comm 'n, 259 F.2d 921, 925 (D.C. Cir. 1958)).

    IH.       FACTUAL BACKGROUND

          The following facts set out in the administratiye record, and confirmed by the attached

verified Petition for Judicial Review of Housing Autliority Decision to Terminate Housing
                                                             |


Assistance are pertinent to this memorandum:

          HANO is planning to terminate Ms. Alexander's housing assistance on December 31,

2024, because of its hearing officer's finding that she allegedly did not comply with a HANO

request to supply information relevant to her income and that the information she provided was

false or incomplete. But the hearing officer's concerd was that Ms. Alexander's tax forms listed

more income than she reported to HANO. A tax attorney provided by SLLS then amended Ms.

Alexander's tax returns to list the correct income. But HANO refused to alter course based on

the information in her amended returns.
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           Ms. Alexander is a single mother who lives with her fourteen-year-old son. She has no

    regular income. As a result she relies on a housing su sidy through the HCV program,

    administered by the Housing Authority ofNew Orleans.

           In 2021, Ms. Alexander reported unemployment as her only source of income when she

.   completed her Application for Continued Occupancylon May 23, 2021. Ms. Alexander made no

    wage income in calendar year 2021. On June 21, 202 , Ms. Alexander reported contributions

    from her brother as her only source of income at the t    e. Ms. Alexander did not report what

    HANO would consider "sporadic income" and therefore not included in Ms. Alexander's annual
                                                          I


    income, see HANO Administrative Plan sec. 8.5.1.3

           On May 31, 2024, HANO sent Ms. Alexander a notice proposing to terminate her

    assistance for failure to supply required information dnd failure to provide truthful and complete

    information, in violation of her family obligations un ler the program. Specifically, HANO

    alleged that Ms. Alexander's 2021 and 2022 tax transcripts listed wages and business income

    that she had not reported to HANO.

           Ms. Alexander was not aware of the wages at d business income reported on her tax

    transcripts until HANO brought it to her attention. These amounts were not accurate and were

    reported by her tax preparer without her knowledge or consent.

           Ms. Alexander timely requested an informal liearing and retained Southeast Louisiana

    Legal Services Low Income Taxpayer Clinic attornej R. Paul Tuttle who amended her 2021 and

    2022 tax returns to reflect the correct wages and business income. These amended returns were

    filed with the IRS on July 15, 2024.

           The informal hearing was held on July 24, 2024. At the hearing, Ms. Alexander explained

    that she did not make the wages and business income|her tax preparer reported in her tax returns

    and submitted the 2021 and 2022 amended returns into evidence.

           HANO nonetheless issued a decision to terminate her housing assistance, effective

    December 31. As a result of the hearing decision based on erroneous information, Ms. Alexander



    ³ Housing Authority ofNew Orleans, Housing Choide Voucher Program Administrative Plan
    (Sept. 1, 2023) (HUD Approved May 25, 2023),
    https:#hano.org/plans/HANO_HCVP__AdminPlan 9- 023.pdf.
                                                    9
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and her child face imminent eviction and homelessness when their housing assistance payments

are terminated on December 31, 2024. Because of Ms. Alexander's limited income, she cannot

afford rent on the private market. HANO pays all of her rent because of her low income. If

HANO stops making its payments to her landlord, hei- landlord can move to evict her the first

week of January 2025. She and her child would be fofced to move . She cannot afford to pay for

a storage unit, so she would likely lose many of her b longings and furniture. She and her child

will experience severe physical and emotional harm being homeless without anywhere to go.

And Ms. Alexander would be unable to enter a new lêase for the'foreseeable future should

HANO's decision go into effect and later be reversed( This is because she lacks funds to make

the first month's rent plus deposit as required to ente most new rental agreements.

   IV.      APPLICABLE LAW

            a. Standard of Review - Judicial Review
         The judicial review procedures of the Louisiana Administrative Procedure Act ("LAPA")

do not apply to local housing authorities, which are political subdivisions. La. R.S. 40:406(B)

(exempting housing authorities from LAPA); La. R.S|. § 49:951(3) (specifying state agencies are

subject to the LAPA). However, as set.out below Louisiana courts have repeatedly held that

judicial review exists outside of LAPA.

         The Third Circuit thoroughly analyzed the authorities and applied them to a Housing

Authority decision to remove a board member where, like.the absence of express authority in the

Housing Authorities Law for appeal of a termination decision, "nowhere in the Housing

Authority's law is there set forth the procedure for appeal of such removal." Messina v. Rapides

Par. Police Jury, 373 So. 2d 745, 748 (La. App. 3d Cir. 1979), writ denied, 376 So. 2d 1268 (La.

1979).4 It followed in part Fourth Circuit decisions regarding other non-statutory administrative

reviews. Gertler v. City ofNew Orleans, 346 So. 2d 228 (La. App. 4th Cir. 1977); River Oaks-

Hyman Place Homeowners Civic Ass'n v. City ofNew Orleans, 281 So. 2d 293 (La. App.4th

Cir. 1973). But it also looked at the analogous Admiriistrative Procedure Act and other cases in

deciding:


                                                      1
4 Decided just prior to the amendment of LAPA on Jüne 20, 1979; rehearing denied on August
15, 1979.
                                                10
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                    [T]he most logical standard is that set ïbrth in the above, analogous, cases
                    involving school boards, civil service boards, zoning boards, and an
                    executive order in an adjudicatory proheeding under the Administrative
                    Procedure Act, to-wit [whether the de ision below is]:

                    (1) In accordance with authority and formalities of the law and
                    (2) Supported by substantial evidence, in that the action was not arbitrary
                    or capricious or an abuse of discretion

    Messina, 373 So. 2d at 749; see also Tanner v. Baton Rouge, 422 So. 2d 1263 (La. App. 1st Cir.

    1982), writ denied, 429 So. 2d 128 (La. 1983).; Cochran v. City ofBaton Rouge, 399 So.2d 656

    (La. App. 1st Cir. 1981).
            Moreover, the Fourth Circuit recently affirme the.existence of a cause of action to

    review HANO's termination decisions in D'Aquin v. Hous. Auth. ofNew Orleans, 2024-0584

    (La. App. 4 Cir. 11/13/24), _ So.3d _ (Supreme Court writ application filed).

            Even where a government body is expressly exempted or excludedfrom LAPA, judicial

    review of the body's decisions is available. See Collector ofRevenue v. Murphy Oil Co., 351 So.

    2d 1234, 1236 (La. App. 4 Cir. 1977) (though the Board of Tax Appeals' decision was

.   specifically exempted from LAPA, it was nonetheles subject to review for whether the Board

    correctly applied the law and whether its findings of fact were supported by substantial

    evidence).

            Ms. Alexander requests that the November 18, 2024, decision terminating her housing

    assistance as of December 31, 2024, be stayed while HANO reconsiders its decision to terminate

    in light of Ms. Alexander's amended tax returns.

                 b. Standard of Review - Stay

            Plaintiff requests that the November 18, 2024 decision terminating her housing

    assistance as of December 31, 2024 be stayed pending judicial review, and that Housing

    Assistance Payments,to her landlord continue throngli the pendency of this case.                         .

            As previously established, the Louisiana Adn inistrative Procedures Act ("LAPA") does

    not apply to housing authorities, but "[w]here no standard ofjudicial review is set out in the law .

    . . the most logical standard is that set forth in . . . analogous, cases ... and. . . under the

    Administrative Procedure Act." Messina, 373 So. 2d át 749. LAPA permits a reviewing court to

    order "a stay exparte upon appropriate terms . . . ." Ila. R.S. § 49:978.1(C) (emphasis added).


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    V.        ARGUMENT

              a. Ms. Alexander is likely to prevail on the merits of her judicial review claims
                 because HANO's decision to terminate for failure to supply required
                 information, and failure to provide truthful and complete information, was
                 incorrect, arbitrary and capricious, an abuse of discretion, and not based on
                 substantial evidence.                                      .

           "An administrative decision is arbitrary when the administrative agency has disregarded

evidence or given inappropriate weight to evidence; the decision is capricious when the agency's

conclusion has no substantial basis or is contrary to sùbstantiated competent evidence." Cranford

v. Louisiana State Bd. ofPrac. Nurse Examiners, 996 So. 26 590, 602 (citing Coliseum Square

Ass'n v. City ofNew Orleans, 544 So. 2d 351 (La. 1989)).

           Here, Ms. Alexander is likely to succeed in h r claim that HANO's decision was arbitrary

and capricious and not based on substantial evidence.jIn her administrative hearing, Ms.

Alexander testified that the wages and business incon e on her 2021 and 2022 tax returns were

inaccurate and reported without her knowledge or co9sent. She filed amended returns prior to the

hearing, assuming a significant financial liability, and submitted the amended returns into

evidence at the hearing. Nevertheless, HANO upheld|its decision to terminate based on the

amounts acknowledged to be incorrect rather than thq correct numbers contained in her amended

returns.

           The administrative decision to terminate Ms. Alexander's housing assistance is not based

on substantial evidence. Rather, it is based on information known to be false and willfully

ignores evidence of the correct information contained in Ms. Alexander's amended 2021 and

2022 tax returns. HANO's disregard of relevant evidence renders its decision arbitrary and

capricious.

              b. Ms. Alexander will suffer irreparable injury if the motion for stay is not
                 granted.

         "Irreparable injury is an injury or loss that cannot be adequately compensated in money

damages, or is not susceptible to measurement by pecuniary standards." Easterling v. Est. of

Miller, 184 So.3d 222, 229 (La. App. 4 Cir. 2015) (in the context of preliminary injunction).

         Here, there is no apparent path to getting monetary damages from HANO based on its

termination decision. While above-cited decisions establish that judicial review is available, the
                                                       I




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question of whether public entities should incur damages liability for how they perform their

public functions is entirely different and such relief is usually unavailable.

       Louisiana courts have found that eviction and the prospect of homelessness constitute

irreparable harm. See Williams v. Hous. Auth. ofCity ofSlidell, 2015-0624 (La. App. 1 Cir.

11/9/15), 2015 WL 6951286, at *3 (finding that "eviction of an indigent tenant from public or

subsidized housing has repeatedly been found to prespnt irreparable injury"); Robbins v. State

Through State Land Off, 97-671, p. 966 (La. App. 3d Cir. 12/17/97), 704 So. 2d 961, 966, writ

denied, 98-0176, p. 9 (La. 3/20/98), 715 So. 2d 1214 (affinning finding of irreparable harm

sufficient to enjoin eviction because "[1]oss of the 'rehsonable enjoyment' of one's home often

cannot be adequately compensated by the payment of money."); Cardona v. Rivera, No. 2011

CA 0749, 2011 WL 5420815, at *5 (La. App. Nov. 9 2011) (affirming trial court finding that

plaintiff "would be irreparably harmed because he wduld be without his home and his home

place."); S. Cotton-Oil Co. v. Leathers, 50 La. Ann. 1 4, 135, 23 So. 201, 201 (1897)

("The loss of the shelter of one's house, if lost by an act of injustice, is another instance of injury

which may not be compensated for in money.") (dictA).

        If HANO is not immediately enjoined from tehninating Ms. Alexander's HCV Program

assistance on December 31, 2024, Ms. Alexander and her child can be evicted for nonpayment

because HANO will not make a housing assistance pÃyment on January 1, 2025. Ms. Alexander

cannot afford to pay the rent without her HCV Program subsidy because of her limited income.

If evicted, she and her child will experience homelesdness, loss of much of their furniture and

personal possessions, and severe mental anguish. The|threat of irreparable harm, should a stay

order not be issued, is clear.

            c. Other parties interested in the proededing will not be harmed, and the public
               interest favors a stay.

        Other parties interested in the proceeding will not be harmed by a stay order. A stay order

would mean that HANO would be required to maintain the status quo, and continue to issue

Housing Assistance Payments to Ms. Alexander's latídlord during this proceeding. However, this

is a judicial review proceeding, not an ordinary proceeding. Judicial review is based on the

existing (relatively limited) administrative record, thdre is no discovery, and therefore the matter


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should not take more than six months to resolve. This is not significantly longer than the time

HANO already delayed implementation while waiting for its own administrative appeal

decision.5 Any cost to.HANO is modest compared to the irreparable harm that Ms. Alexander           .

would suffer.

       The public interest also favors a stay. This case involves a low-income, single mother and

her fourteen-year-old son who will be rendered homeless without a stay. The public has an

interest in administrative bodies complying with state law and their own policies, and

administering programs in accordance with their mission. See Dep't ofPub. Safety & Corr., Off

ofYouth Servs. v. Savoie, 569 So. 2d 139, 143 n.2 (La. App. 1 Cir. 1990) (citing Cent. La. Elec.
                                                          t
Co. 377 So. 2d 1188) ("There is a strong public interest in requiring a government agency to

follow its own rules and regulations.")

    VL CONCLUSION

       For the reasons outlined herein, Plaintiff's application for a stay should be granted.

Specifically, a stay order would require HANO to coñtinue to issue Housing Assistance

Payments to Ms. Alexander's landlord, and to continue all other program benefits pending

judicial review. Should the Court wish to schedule this matter for hearing rather than granting

relief ex parte, Plaintiff asks the Court to schedule a hearing prior to December 31, 2024, when

her termination decision is set to go into effect.

                                               Respectfully submitted:

                                               SOUTHEAST LOUISIANA LEGAL SERVICES

                                               By:

                                               JA K MUSE, LSBA #36237
                                               1340 Poydras St. Suite 600
                                               New Orleans, Louisiana 70112-2401
                                               Telephoile: (504) 529-1000, ext. 612
                                               Fax: (504) 596-2241
                                               jmuse@slls.org
                                               Attorne)for PlaintiffByroniesha Alexander




5 The Notice of Proposed Termination issued May 31, 2024, with the decision issued November
18, 2024.
                                                     14
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                                     CERTIFICATE OF SERVICE

       I, the undersigned, do certify that a copy of thb above motion has been served upon

Defendant, by first class mail and electronic mail this       day of D e c h be , 2024.


                                                          t

                                              Paul Tassin, LSBA #40069




                                                 15       |
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                                                                                              EXHIBI




                   CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
         .                        STATE OF LOU[ISIANA

         NO.                                                                        Divisiop;

                                     BYRONIESHA ALEXANDER

                                                VERSUS

                            HOUSING AUTHORITY OF NEW ORLEANS

FILED:

                                                                 DEPUTY CLERK

                                        AFFIDAVIT OF NOTICE

STATE OF LOUISIANA
PARISH OF ORLEANS

             BEFORE ME, the undersigned Notary Publiö, personally came and appeared

PAUL TASSIN, who after being duly sworn and deposed did state the following:

    1. I am a staff attorney at Southeast Louisiana Legal Services.

   2. On December 23, 2024, I notified Defendant Housing Authority of New Orleans

             ("HANO") through counsel Tiffany Boveland that SLLS intended to file suit and seek an

             emergency stay in this matter.

   3. My correspondence is attached as Exhibit A.

I declare under penalty of perjury that the forgoing statemen        true and correct.


                                                       Paul Tassin
SWORN TO AND SUBSCRIBED
BEFORE ME THIS  3 DAY OF                           C(¶ )             , 2024.               ptillliifff   .
                                                                                            NAL
                                                                                         .. KiiŸ3 .

NOTARY PUBLIC

                                                                                            S P
                                                                                          //1|l|1100



                   Corina Lopez
     .             Notary Public
   Bar No. 40435, ID No. 192002
        State of Louisiana
         My Commission is for Life

                                                                                     V RFED
                 Case 2:25-cv-00066-JTM-EJD
12/23/24, 12:49 PM                                          Document
                         Southeast Louisiana Legal Servic s Mail - Byroniesha13-1
                                                                              Alexander:Filed
                                                                                         Petition01/21/25          Page
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                                                                                                                      and Emergency Motion to Stay




  Byroniesha Alexander: Petition for Judicial R view and Emergency Motion to Stay
  Paul Tassin <ptassin@sils.org>                         .                                                    Mon, Dec 23, 2024 at 12:49 PM
  To: Tiffany Boveland <tboveland@hano.org>
  Cc: Jack Muse <jmuse@slls.org>, David Williams <dwilliams@sils. rg>

     Good afternoon, Ms. Boveland,
     Attached please find copies of HCV participant Byroniesha Alexander's Petition for Judicial Revyw andTmerge
     Motion to Stay, which I am filing with the court today.
     Attorney Jack Muse (copied) is counsel of record Ín this case. He will be back in office Monday                èçembery0.        t een
     now and then you are welcome to contact me witli any questions or concerns.

     Paul Tassin                                                                  .
     Staff Attorney, Housing Law Unit
     Southeast Louisiana Legal Services
     1340 Poydras St., Suite 600
     New Orleans, LA 70112
     Phone (504) 529-1000 ext. 614

                                          CONFIDENTIALIT" NOTICE
     THIS ELECTRONIC MAIL TRANSMISSION ANd THE DOCUMENTS ACCOMPANYING IT MAY CONTAIN
     CONFIDENTIAL INFORMATION BELONGING TO THE SENDER WHICH IS PROTECTED BY THE ATTORNEY/CLIENT
     P.RIVILEGE. THE INFORMATION IS INTENDED FOR THE USE JF THE INDIVIDUAL OR ENTITY NAMED ABOVE. IF
     YOU ARE NOT THE INTENDED RECIPIENT, YOJ ARE HEREBY NOTIFIED THAT ANY ACTION IN RELIANCE ON
     THE CONTENTS OF THIS TRANSMISSION IS STRICTLY PROHIBITED. IF YOU RECElVED THIS TRANSMISSION IN
     ERROR, PLEASE NOTIFY US IMMEDIATELY.

      2 attachments
          241223-Emergency Motion and MIS-AlexanderB.pdf
          1023K
          241223-Petition for Judicial Review-AlexanderB.pdf
          613K




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                    CIVIL DISTRICT COURT FOR TÍIE PARISH OF ORLEANS
                                   STATE OF LOUISIANA
         NO.                                                                          Division:
                                   BYRONIESHA ALEXANDER

                                               VERSUS

                          HOUSING AUTHORITY QF NEW ORLEANS
                                                                                                  SECTION 5
    FILED:
                                                                  DEPUTY CLERK

      PETITION FOR JUDICIAL REVIEW OF HOUSING AUTHORITY DECISION TO
                      TERMINATE HOUSING ASSISTANCE


           NOW INTO COURT, through undersigned counsel, comes BYRONIESHA

    ALEXANDER, a person of full age of majority, who for this petition alleges and says:
O
                                   PRELIMINARY S ATEMENT



           Plaintiff Byroniesha Alexander is the single mother of a child in his freshman year of

    high school who receives housing assistance benefits because of her low income.



           Ms. Alexander depends on this housing assistance from the Housing Choice Voucher

    Program which is administered by Defendant Housing Authority ofNew Orleans ("HANO").

                                                    3.                                                •

           Unknown to her, her tax preparer reported income she did not earn on her income tax

    returns. HANO proposed to terminate her housing assistance based on the discrepancy between

    the income reported to HANO and that reported on her taxes.

                                                    4.

           Ms. Alexander has amended her taxes to corrèct the income figure reported there. But

    HANO is still terminating her housing assistance because of the income originally misreported

    on her taxes.

                                                    5.
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       Ms. Alexander seeks judicial review and reversal of HANO's decision as arbitrary and

capricious.

                                    PARTIES AND VENUE

                                                 6.

       Ms. Alexander is a person of the age of majority residing in Orleans Parish.

                                                 7.

       Housing Authority ofNew Orleans ("HANO") is a political subdivision of the state of

Louisiana that operates conventional public housing and issues rental assistance under the

Housing Choice Voucher ("HCV") Program, commonly known as Section 8.

                                                  8. .

       Venue is proper in this District because the acts complained of occurred here, Ms.

Alexander resides here, and HANO has its offices and conducts its business here.

                                  FACTUAL ALLEGATIONS

                                                  9.    .


       Ms. Alexander is a single mother who lives with her fourteen-year-old son.

                                                  10.


       Ms. Alexander has no regular income and so is unable to pay market rent and relies on a

housing subsidy through the HCV program, administered by HANO, to be able to afford housing

for her and her son.

                                                  11.

       Under the HCV program, HANO pays Housing Assistance Payments to private landlords

to subsidize some, and sometimes all, of the cost of rent for participating tenants. Based on her

current income, HANO currently subsidizes the full amount of Ms. Alexander's rent.

                                                  12.

       HCV program participants agree to comply with certain family obligations, including to

supply any information requested by HANO for use ih a regularly scheduled reexamination or


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interim reexamination of family income and composition. HANO Administrative Plan sec. 15.2.

Information the participant supplies to HANO must e true and complete. Id.

                                                  13.

       Violation of a family obligation (other than thþse related to certain drug-related, violent

criminal activity, and alcohol abuse prohibitions) is a!discretionary ground for termination of

voucher assistance. HANO Administrative Plan sec. 19.3. "In making its decision to terminate

assistance, HANO may consider alternatives and specific circumstances and may, on a

case-by-case basis, choose not to terminate assistance." Id.

                                                  14.

       While some types of criminal activity may be grounds for mandatory termination, those

grounds are limited to offenses not at issue in this case: sex related offenses, manufacture or

production of methamphetamine, illegal drug abuse, and drug-related or violent criminal activity.

HANO Administrative Plan secs. 19.2.5, 19.2.9, 19.21.11, and 19.2.12, respectively.

                                                  15.

       When HANO proposes termination, the participant is entitled to notice and an informal

hearing. HANO Administrative Plan secs. 18.5 and 19.9.

                                                  16.

       HANO's decision on termination must be based on a preponderance of the evidence.

HANO Administrative Plan sec. 19.7.

                                                  17.

       HANO has a choice of remedies besides termination. Their choice must account for

certain types of mitigating factors:

       In the case of family-caused errors or program abuse, HANO will take into consideration:
           • The seriousness of the offense and the extent of participation or culpability of
               individual family members;
           • Any special circumstances surrounding the case;
           - Any mitigating circumstances related to the disability of a family member;
           - The effects of a particular remedy on family members who were not involved in
               the offense.

                                                 3
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HANO Administrative Plan sec. 20.7 (emphasis added).

                                                 18.

       On May 31, 2024, HANO sent·Ms. Alexandet a notice proposing to terminate her from

the HCV program for (1) failure to supply required information, and (2) failure to provide

truthful and complete information, in violation of her family obligations under the program.

                                                 19.

        The allegations were based on Ms. Alexandei 's 2021 and 2022 tax returns, which listed

wages and business income that she had not reported ito HANO.

                                                 20.


       Tax preparers in Louisiana are unregulated and tax preparer fraud is common.

                                                 21.


       Tax preparers often falsely report unearned inhome for low income clients, in order to

qualify for the "Earned Income Credit" and generate a tax refund or enlarge an existing tax

refund. Many preparers doing so often keep much of fhe extra refund for themselves.

                                                 22. ,

       Ms. Alexander was not aware of the wage and business income reported to the IRS until

HANO brought it to her attention. The wages and business income were not accurate and were

reported by her tax preparer without her knowledge or consent.    .

                                                 23.


       Ms. Alexander timely requested an informal hearing on HANO's termination proposal.

                                                 24.

       Ms. George contacted Southeast Louisiana Legal Services Low Income Tax Clinic

attorney R. Paul Tuttle. At Ms. Alexander's request, Mr. Tuttle prepared amended tax returns for

2021 and 2022. The amended returns were filed on Jüly 15, 2024, in advance of Ms. Alexander's

informal hearing.

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                                                   25. .


       Mr. Tuttle determined that by amending her rëturns, Ms. Alexander would incur a debt to

the IRS of at least $5,000, plus possible interest and penalties.

                                                   26.

        At her HANO appeal hearing, Ms. Alexander provided the hearing officer with her

amended returns and proposed continuing the hearins so that it could be accurately determined

what amount, if any, she had been overpaid in housing assistance.

                                                   27. .



        On November 27, 2024, HANO e-mailed Ms. Alexander notice of its decision dated

November 18, 2024, to uphold the termination of housing assistance for her and her son. A copy

of the decision letter was later delivered by mail on December 5, 2024.

                                                   28.

        The hearing officer set the effective date of the termination for December 31, 2024.

                                     IRREPARABLE INJURY

                                                   29.

        Ms. Alexander and her 14 year-old son have no alternative housing available and cannot

afford to pay market rate rent. They face imminent ejiction and homelessness when their

housing assistance payments are terminated on December 31, 2024.

                                                    30. :



        She cannot afford to pay for a storage unit, soishe would likely lose many of her

belongings and furniture

                                                    31.

         Further, Ms. Alexander would be unable to enter a new lease for the foreseeable future
                                                           I
should HANO's decision go into effect and later be rèversed. This is because she lacks funds to

to pay first month's rent plus deposit as required to enter most new rental agreements.

                                                   5
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                                 FIRST CLAIM FOR RELIEF

 The Hearing Officer's decision is arbitrary and capricious because its finding of facts are
 based on income reported in her original tax returns which Ms, Alexander acknowledged
       to be wrong and assumed a significant liability to correct before the hearing

                                                  32.


       Plaintiff re-alleges and incorporates by reference all allegations in all preceding

paragraphs.

                                                  33.

       HANO's findings of fact included that Ms. Alexander failed to report $14,690 of wages

for calendar year 2021 when she submitted her Applibation for Continuing Occupancy on May

23, 2021.



        Ms. Alexander did not make $14,690 in wages in 2021 and did not tell her tax preparer

that she did.

                                                  34.

        Ms. Alexander immediately took corrective action when she learned of the false

representation of her income, assuming a significant financial liability to do so.

                                                  35.

        When she filed her amended return for 2021 on July 15, 2024, she reported the same

amount she certified in her Application for Continuing Occupancy: zero.

                                                  36.

        This information was available at the hearing, and the amended 2021 tax return was

submitted into evidence.

                                                  37.

        Ms. Alexander testified that she did not make $14,690 in wages in 2021 and that that

number was provided to the IRS without her knowledge or consent.

                                                  38.




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        Nevertheless, the decision to terminate Ms. Alexander's housing assistance is premised

on the erroneous numbers on the original.

                                                  39.

        The hearing officer's findings of fact also included that Ms. Alexander failed to report

$9,918 in wages and $6,364 and business income for calendar year 2022 when she submitted her

Application for Continuing Occupancy on June 21, 2022.

                                                  40.

        Ms. Alexander did not earn $9,918 in wages and $6,364 in business income in calendar

year 2022 and did not tell her tax preparer that she did,

                                                  41.

        Ms. Alexander reported her income as required when she certified her Application for

Continuing Occupancy on June 21, 2022.

                                                   42.

        She assumed a significant financial liability tö amend the 2022 returns before the hearing.

                                                   43.

        The correct numbers were provided to the hearing officer through her amended 2022

returns that were submitted into evidence.

                                                   44.

        The hearing officer ignored those numbers and instead relied on inflated amounts that

Ms. Alexander acknowledged to be inaccurate and provided evidence of her actual income for

2022.

                                                   45.

        The decision to terminate Ms. Alexander's housing assistance is an abuse of direction e. t

based on the arbitrary and capricious decision to rely þn the false reporting of a tax preparer

instead of her actual income from calendar years 2021 and 2022.

                                SECOND CLAIM FOR RELIEF




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 HANO's decision is arbitrary and capricious because Ms. Alexander was terminated for
  improper conduct for which program termination is not authorized, rather than for
                                  unreported ingome.

                                                  46.

       Plaintiff re-alleges and incorporates by reference all allegations in all preceding

paragraphs.

                                                  47.

       Ms. Alexander was not terminated from the program because of unreported income. She

was terminated because her income tax forms reported her income inaccurately, even though she

was not the person who made this error.

                                                  48.

       Termination from the HCV program is permit ed only for violation of specific program

requirements. Termination for criminal activity is limited to offenses involving drugs, violence,

or sexual abuse.

                                                  49.

       Misreporting of income on income tax forms, even if it had been done by Ms. Alexander,

is not an authorized basis for termination from the program.

                                                  50.


       Upon information and belief, HANO's claim that the termination is based on unreported

income is pretextual, and HANO understands the error lies in the nonexistent income reported by

Ms. Alexander's tax preparer, not in the income infonnation she reported to HANO.

                                                  51.

       As a result, Ms. Alexander is not being termitiated for any alleged violation of her family

obligations. Ms. Alexander is being terminated for someone else's conduct, which has

victimized her and her family and that is not enumerited in HANO's administrative plan.

Purporting to base her termination on a failure of faniily obligations is both arbitrary and

capricious and an abuse of direction

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                                 THIRD CLAIM FOR RELIEF

    The Hearing Officer's decision is arbitrary and capricious and an abuse of discretion
liecause it did not consider mitigating factors, as r quired by HANO's Administrative Plan.

                                                    52.

       Plaintiff re-alleges and incorporates by reference all allegations in all preceding

paragraphs.

                                                    53.

       HANO's Administrative Plan requires that HANO consider the following when

determining whether to terminate assistance for family caused errors and/or program abuse:

              •   The seriousness of the offense and the extent of participation or culpability of

                  individual family members;

              -   Any special circumstances surrounding the case;

              •   Any mitigating circumstances related to the disability of a family member; and

              -   The effects of a particular remedy on family members who were not involved in

                  the offense.

HANO Administrative Plan sec. 20.7 (emphasis added).

                                                     54.

        The hearing officer failed to consider any of these factors, including the fact that Ms.

Alexander's child would face eviction and homelessness if the termination was upheld.

                                                     55.

        The hearing officer also failed to consider that Ms. Alexander was a victim of tax

preparer fraud, and took steps to correct the error on her tax returns as soon as it was brought to

her attention, despite incurring liability to the IRS.

                                                     56.

        HANO's failure to follow its own policy that requires consideration of the above

mitigating factors renders the hearing officer's decision arbitrary and capricious and an abuse of

discretion.                                                                                           .



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                               FOURTH CLAIM FOR RELIEF

   HANO'S Decision to Terminate Assistance is Based on an Arbitrary and Capricious
             Shifting of the Burden Rather than Substantial Evidence


                                                  57.

       Plaintiff re-alleges and incorporates by reference all allegations in all preceding

paragraphs.
                                                  58.

       The decision to uphold the termination of Ms. Alexander's assistance cites to section 19.7

of it's administrative, "Criteria for Deciding to Terminate Assistance":

       HANO will terminate assistance if a preponderance of evidence indicates that a
       household member has engaged in the activity. "Preponderance of the evidence" is
       defined as evidence which is of greater weight or more convincing than the evidence
       which is offered in opposition to it; that is evidence which as a whole shows that the fact
       sought to be proved is more probable.than not.

                                                  59. ,

       The hearing officer then states that a violation of a family obligation, specifically a failure

to supply required information, was established because Ms. Alexander did not prove that

"incomes reported on your IRS tax returns were prepared, submitted and processed in a

fraudulent manner to the IRS."

                                                  60.

       The only evidence put forward by the hearing officer is that "[t]he IRS needs your

signature when a tax return is prepared prior to submission".

                                                  61.

       Third parties can be authorized to sign a document on a taxpayer's behalf and it is

common practice for tax preparers to assume such authority.

                                                  62.

       The decision to terminate Ms. Alexander's housing assistance for not meeting a burden

she does not carry to prove the wrongdoing of someone else is arbitrary and capricious, an abuse

of discretion and not supported by substantial evidence.


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                                   PRAYER FOR RELIEF

WHEREFORE the Plaintiff respectfully requests that this Court:

   a. Allow Plaintiff to file this action and proceed|informa pauperis;

   b. Stay HANO's proposed decision to terminate Plaintiff Byroniesha Alexander's housing

       assistance pending the outcome of this case, or if remanded, pending any new

       administrative hearing decision on her case;

   c. Order the Defendant to file the complete record of its administrative review of Ms.

       Alexander's proposed termination from the HCV program for the court's review;

   d. After review of the record and hearing any arguments of counsel, reverse Defendant's

       decision as not based on substantial evidence,|arbitrary, capricious, and an abuse of

       discretion; and

   e. Tax costs of this proceeding to the Defendant; and

   f. Award other relief as this Court may deem to be just and proper.

                                             Respectfully submitted:

                                             SOUTHEAST LOUISIANA LEGAL SERVICES



                                             By:

                                             JACK MUSE, LSBA #36237
                                             1340 Poydras St. Suite 600
                                             New Orleans, Louisiana 70112
                                             Telephone: (504) 529-1000, ext. 612
                                             Fax: (504) 596-2241
                                             Email: jinuse@,slls.org

                                             Attorneyfor PlaintiffByroniesha Alexander



Please Serve:

Housing Authority of New Orleans
Through Counsel, Tiffany Boveland
4100 Touro St.
New Orleans, LA 70122



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                                       VERIFICATION

STATE OF LOUISIANA
PARISH OF ORLEANS
       BEFORE ME, the undersigned authority, personally came and appeared BYRONIESHA

ALEXANDER who, being by me first duly sworn, deposed; that she is the plaintiff in the

attached Petition, and that all allegations of fact made in the Petition, except those allegations

expressly made on information and belief, affiant believes to be true.




                                                      BYR        SHA ALEXANDER

SWORN TO AND SUBSCRIBED
BY ME ON THIS Z      DAY OF                      a e t¼ h Fr                    , 2024.




NOTARY PUBLIC                                                  Paul R. Tassin
                                                                Notary Public
                                                            Notary ID No. 187187
                                                          Orleans Parish, Louisiana




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                                       Exhibit 1




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                                       UNITEDSTATES DISTRICT COURT                                DISTRICTCOURT

                                      EASTERN DISTRICTOFLOUISIANA


          BYRONIESHA ALEXANDER,                            CIVILACTION NO.

                Plaintiff

          VERSUS                                           JUDGE:

          HOUSING AUTHORITY OF NEW
          ORLEANS,

                Defendant                                  MAGISTRATE JUDGE:

                                               N(yf1CE OF REMOVAL

                            PLEASE TAKE NOTICE that Defendant, Housing Authority of New Orleans

           ("HANO"),withafullreservationofallexceptions,rights,anddefensesithasormayhave,hereby

           iemoves the above-captioned action from the Civil District Conit for the Parish of Orleans, State

           of Louisiana, to the United States District Court for the Eastern District of Louisiana, pursuant to

           28 U.S.C. §§ 1331, 1441, and 1446, and states as follows:

                            1.    On or about December 23, 2024, PlaintifE Byroniesha Alexander

           ("Plaintiff"),commenced this actionby filing a PetitionforJudicialReview ofHousingAuthority

           Decision to Terminate Housing Assistance ("Petition") against HANO in the Civil District Court

           for the Parish of Orleans, State of Louisiana, bearing docket number 2024-11594, attached as

           ExhibitA. AsofthedraftingofthisNoticeofRemoval,HANOhasnotbeenformallyservedwith

           the Petition.

                            2.    Plaintiff is a participant in the Housing Choice Voucher Program (the

           "Program") pursuant to Section 8 of the U.S. Housing Act of 1937, 42 U.S.C. § 1437£ Under the



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          P1ogram, HANO subsidizes housing costs for Plaintiff and her fomteen-year-old

          participant in the Program, Plaintiffis iequired to comply withcenain regulations promulgated by

          the Department of Housing and Urban Development ("HUD"), "includmg to supply any

          infonnation requested by HANO for use in a regularly scheduled reexarnination or interim

          mexamination of family incorneand cornposition."2 Any violations ofPlaintiffsobligations can

          msult interminationofhousingassistance.3

                          3.          HANO proposed termination of Plaintiffs housing assistance after finding

          that Plaintiffviolatedcertainobligations set forth inthe HUD regulations.4 Specifically, HANO

          proposed termination of Plaintiff's housing assistance for Plaintiff's "failure to supply required

          information" and her "failum to provide truthful and cornplete information" regarding her wage

          and business income.S Pursuant to 24 C.F.R. § 982.555(a) and 42 U.S.C. § 1437d(k), Plaintiff

          mquested an informal hearing regarding the proposed termination.' Upon review of the record

          and evidence in the course of the informal hearing, HANO detemuned that the decision to

          terminate Plaintiffs housing assistance should be upheld, based on the following violations:

          (i)Plaintiffs failure to supply information and documents as required under 24 C.F.R.

          §982.551(b)(2)and(ii) Plaintiffsfailumtoprovidetruthfulandcornpleteinformationinviolation

          of24 C.F.R.§ 982.55I(b)(4).'


                  Petition at ¶ 11.
          2       Seegenem#y24C.F.R.§982.551(listingobligationsofPrograrnparticipants); Petitionat
          ¶ 12.
                  See 24 C.F.R. §§ 982.552, 982.553.
                  Petitionat¶18.
                  Id. at ¶¶ 1 8-19.
          6       Id. at ¶ 23.
                  A copy of HANO's Informal Hearing Decision is attached he eto as Exhibit B.
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                         4.      AfkrreceivingHANO'sInformal Hearing Decision,Plaintifft

          PetitionclaimingthatHANO'sdecisiontoterminateherhousing was"arbitragandcapriciousand

          an abuse of discretion" for the following ressons:

                         (a)     the hearmg officer's decision er1oneously relied upon "false reporting of a

                                 taxpreparerinsteadof[Plaintiffs] actualincome...";

                         (b)     HANO's decision to terrninate Plaintiffs housing assistance is based upon

                                 the tax pmparer's conduct, not Plaintiffs and "[m]isreporting of income on
                                 incorne tax forms . . . is not an authorized basis for termination from the

                                 Pmgram";
                         (c)     the hearmg officer failed to consider mitigating factors enumented in

                                 HANO's Administmtive Plan and failed to consider that Plaintiff is a

                                 "victimoftaxprepa erfraud...";and
                         (d)     HANO incorrectly placed the burden on Plaintiff to show that her tax

                                 mturns were fraudulently p epared.8

                         In support of her allegations, Plaintiff cites to various provisions of HANO's

          Adrninistmtive Plan ("Plan"), which is governed by Section 8 of the U.S Housing Act of 1937, as

          amended, 42 U.S.C. § 1437f and the regulations promulgated thereunder.' Thus, Plaintiffs

          allegations are based upon HANO's alleged infringernent of fedemi regulations prornulgated by


          8       Petition at ¶¶ 45, 49, 51, 53-55, and 62.
                 See the Plan Section 1.3 ("The Housing Authority of New Orleans D administers the HCV
          [Housing Choice Voucher] p ogram in conformance with all applicable fedemi, state and local
          regulatory requirements."); Id. at Section 1.4 (listing various parts of 24 C.F.R. as regulations
          governing"HANO'sHCVprogmm andAdministmtivePlan.");24C.F.R.§982.52(a)("ThePHA
          [Public Housing Anthority, such as HANO] must comply with HUD regulations and other HUD
          mquienents for the progmm."); 24 C.F.R. § 982.54(a) ("The PHA must adopt a written
          AdrninistmtivePlantbatestablisheslocalpolicies foradrmnistrationoftheprogmmin accordance
          with HUD mquienents.").
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          HUD. Accordingly, Plaintiffs causes of action are grounded in federal law, themby

          federal question jurisdiction."
                         5.      As set out mo e fully below, this case is properly removed to this Court

          pursuantto28U.S.C.§1441 becauseHANOhassatisfiedtheproceduralrequirernentsforremoval

          andthisCourthassubjectmatterjurisdictionoverthisactionpursuantto28U.S.C.§§ 1331,1441,

          and 1446.

                         6.      HANO now files this Notice of Rernoval based on the g ounds asserted

          herein,andpromptlyuponthefilingofsame,isalsofilingaNoticeofFilingofNoticeofRemoval

          in the state court in which this case was previously pending.

          L       HANO HAS SATISFIED THE PROCEDURAL REOUIREMENTS                                         FOR
                  REMOVAL.

                         7.      This Court has original jurisdiction over this civil action under 28 U.S.C.

          § 1331, which vests federal conits with original jurisdiction over causes of action created by

          federal law, because Plaintiff asserts clairns based on alleged violations of 24 C.F.R. § 982.1, er

          seq.; Section 8 of the U.S. Housing Act of 1937, 42 U.S.C. § 1437f, and the federal regulations

          associated therewith. Accordingly, this dispute andtheresolution thereofinvolve the construction,

          application, and effect of federal law.

                         8.      Plaintiff filed the Petition in Civil District Court for the Orleans Parish on

          Decernber23,2024. That same day, Plaintiffalso filed an EmergencyMotionforStapofHousing



          1°      See, e.g., Mi e v. DISA Glob. Sols., Inc., No. 18-137-BAJ-RLB, 2018 WL 3245085, at *3
          (M.D. La. June 11, 2018) (to detemune whether federal-question jurisdiction exists, the court
          examines "the face of the cornplaint [for] some substantial, disputed question of federal law");
          IIoweryv,AllstateIns, Co.,243 F.3d912,917(5thCir.2001)("[t]obringacasewithinthe[federal
          questionjurisdiction]statute,arightorinununitycreatedbytheConstitutionorlawsoftheUnited
          States must be an element, and an essential one, of the plaintiffs cause of action") (quoting Gully
          FirstNar7BankinMeridian,299U.S.109,112(1936)).

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          AuthorityDecisionPendingJudicialReview("EmergencyMotion"). The Emergen

          set for hearing on January 9, 2025. HANO was served with the Emergency Motion on January 7,

          2025; however, as of the drafting of this Notice of Removal, HANO has not yet been served with

          the Petition. Despite not receiving proper service of the Petition, HANO files this Notice of

          Removal ontofanabundanceofcantionin advance ofthe January9,2025,hearinginCivil District

          Court.

                          9.      The e exists an actual and justiciable controversy between Plaintiff and

          HANO with regard to the legal issues herein and this controversy is within the jurisdiction of this

          Court.

                          10.     Venue for removal is proper in this district and division under 28 U.S.C.

          § 1441(a) because this district and division embrace the place in which the removed action was

          pending, the Civil District Conit for the Parish of Orleans, State of Louisiana.

                          11.     Nopreviousapplication hasbeeninadeforthereliefrequestedherein.

                          12.     Pmsuantto28U.S.C.§1446(a),acopyofallprocess,pleadings,ordersand

          all other filings in the state court action are attached as Exhibit C.

                          13.     Pmsuant to 28 U.S.C. § 1446(d), written notice of filing of the Notice of

          Removal will be given to all adverse parties promptly after filing of same. See Exhibit D.

                          14.     Pmsuant to 28 U.S.C. § 1446(d), a true and correct copy of this Notice of

          RemovalisbeingfiledwiththeClerkofCourtfortheCivilDistrictCourtfortheParishofOrleans,

          State of Louisiana. See Exhibit D.

                          15.     HANO is the sole defendant named in Plaintiffs Petition. Accordingly,

          pursuant to 28 U.S.C. § 1446(b)(2)(A), all defendants who have been properlyjoined and served

          consent to the removal of this action.


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                          16.    The Notice of Removal is signed pumuant to Rule 11 of the F

          of Civil Procedu e and the Local Civil Rules of this District Court.

          II.      REMOVAL IS PROPER BECAUSE THE COURT HAS SUBJECT MATTER
                   JURISDICTION PURSUANT TO28 U.S.C.6 1331.
                          17.    Removal is proper under 28 U.S.C. § 1441 because the Court has original

          jurisdiction pumuant to 28 U.S.C. §1331, which states that federal courts have "original

          jurisdiction of all civil actions arising under the Constitution, laws, or treaties of the United

          States.""

                          18.    Plaintiffs claims are based upon HANO's Administrative Plan, which is

          governed by federal statutes and the regulations promulgated the eunder and themfore Plaintiffs

          claims "aris[e]underthe Constitution, laws, ortmaties ofthe United States?2 Even if the Petition

          did not plead a federal cause of action, federal question jurisdiction pumuant to 28 U.S.C. § 1331

          does not requirethatacomplaintpleadafederalcauseofaction.13 Rather,a complaint must only

          involve a "contmversy respecting the construction and effect of the [federal] laws'" which

          controversy is "sufficiently real and substantial.""

                          19.    For example, this Conit has held that clairns governed by federal law,

          including the U.S. Housing Act of 1937 and HUD regulations promulgated the eunder, conferred

          federal question jurisdiction because resolution of the dispute required the Court to interpret

          federal regulations, which in turn could impact how HUD adrmnistered the Section 8 Voucher



                   See also Zeigler v. Hous. A uth. ofNew Orleans, No. 10-2956, 20 I I WL 39008, at *3 (E.D.
                   La. Jan.5,2011).
          12       28U.S.C.§1331.
                   Grable & Sons Metal Prods., Inc. v.1hrrue Eng'g & Mfg., 545 U.S. 308 (2005).
               Id. at 316 (quotmg Hopkins v. Walker, 244 U.S. 486, 489 (1917)); Drawhorn v. Qwest
          Commc'ns Int7, Inc., 121 F. Supp. 2d 554, 562 (E.D. Tex. 2000).

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          P1ograrn.15 Moreover,jurisdictionunder28 U.S.C.§ 1331 has been found even whe                   ICOURT

          mgulation at issue does not provide a private right of action, where resolution of the matter

          dependeduponthecourfsdetenninationofwhetherthedefendantbreacheditsdutyunderfederal

          law.''

                         20.     As in BFNO and Pendleton, the clairns alleged in the Petition arise under

          federal law and are governed by federal law; and therefore, resolution of this matter requires

          constmction of federal law and regulation. Simply put, it is impossible to determine whether

          HANO'sdecisiontotenninatePlaintiffshousingassistancewasimproperwithoutresorttofederal

          law and regulations.

                         21.     Accordingly, rernoval is proper punnant to 28 U.S.C. §§ 1331 and 1441.

          III.     CONCLUSION
                         Resolution of this dispute requires analysis of federal rules and regulation and

          insight into how those regulations govern the ælationship between HANO, a political subdivision

          of the State of Louisiana, and Plaintiff. Considering the possibility of more plaintiffs filing

          petition alleging similar claims, resolution of this matter arguably will impact how HANO



          15       BFNO Props., LLC v. Hous. Auth. ofNew Orleans, No. 15-300, 2015 WL 1737844, * 1
          (E.D. Is. Apr. 16, 2015); see also One & Ken Valley Hous, Grp. v. Me. State Hous, Auth.,7 16
          F.3d2I8,223-225(1stCir.2013)(finding federalquestionjurisdictionexistedoverHAPeontract
          [Housing Assistance Payments Contmet] dispute between state housing authority and owner of
          housing rental projects because the dispute involved a "federal contractor's implernentation of a
          federal program; the contmcts at issue we e drahed and approved by a federal agency and signed
          byafederalofficial;andplaintiffsallegethatthecontractor[statehousinganthority]wasinbreach
          of the ag eernent by following a guideline promulgated by a federal agency pursuant to a federal
          statute");Ewrgreen5quareofCudahys.Wis.Hous,&Econ.Dev.Auth.,776F.3d463,467(7th
          Cir.2015)(findingfederalquestionjurisdictionexistedwhere"resolutionof[the]caseturn{ed]on
          issues of federal law-specifically, the application of 42 U.S.C. § 1437f and related regulation
          and notices prornulgated by HUD").
          ''       PendletonPinesAssocs.,L.L.C.v.LedicMgmt.,L.L.C.,354F.Supp.2d775(W.D.Tenn.
          2005).

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          administers the federal Section 8 Voucher Program and futme decisions involving te             FCOURT

          housing vouchers. Thisis especially true given theseveralrelatedcases currentlypending in this

          district court."

                             Simply put, this matter involves analysis and application of federal law, the

          outcomeofwhichcouldaffectfutureactioninzelatedmatters. Accordingly, thisCon1tisproperly

          vested with subject matterjurisdiction over Plaintiffs clairns under 28 U.S.C. § 1331.

                          WHEREFORE, Defendant, Housing Authority of New Orleans, prays that this

          Notice of Removal will be deerned good and sufficient and that this matter will be removed from

          the docket of the Civil District Court for the Parish of Orleans and accepted onto this Court's
          docket.



          Date:January 8,2025                           Respectfullysubmitted,

                                                        /s/KathrvnM.Knight
                                                        KathrynM. Knight[T.A.],La.BarNo.28641
                                                        RachelW.Wisdom,La.BarNo.21167
                                                        Katelyn N. McGibney, La. Bar Roll No. 39979
                                                        Stone Pigman Walther Wittmann L.L.C.
                                                        909 Poydras Street, Suite 3150
                                                        New Orleans, Louisiana 70112
                                                        Telephone:(504)581-3200
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                                                        Attorneysfor Housing Authority ofNew orlæns




                    SeeleshaMartinv.HousingAuthorityofNeworleans,No.2:24-cy-01884andKeishanna
                    Georges.HousingAuthorityofNeworleans,No.2:24<v-02854.
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                                                                                             DISTRICT COURT
                        Ihe ebycertifythatacopyoftheaboveandforegoingNoticeofRemovalhasbeen

          served upon all counsel of record by placing sarne in the United States mail, postage pmpaid and

          propedy addressed and by e-mail, this 8th day of January, 2025.

                                                                /s/ Kathryn M. Knieht




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      (c) Altorneysfrinshansr,A           sadreirp¾ussMusher)                                        A110tiheya(ffKmW
            Jack Muse/ SLLSI 1340 Poydras St., Suite 600, New                                        Kathryn M. Knight{ Slone Pigman/ 909 Poydras St., StJHe
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    VIL REQUESTED IN                       CHECKIFTHIS ISACLASSACTION                           DE AND$                                ClíFCKYEiSanly ifdummadedincompimist
        COMPLAINT:                         UNDERRULE23,F.R.Cv.P.                                                                       JURYDE AND:           Yes     No
    VHL RELATEDCASE(S)
           IFANY                          #"*™²*              JuotiE        JaneTicheMiszzo                                     DacKETNUMBER 24-1884and24-28S4
    DAT                                                          $I(¡NATUR['.    I ATI   RNEY     I ]tl:CORD
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    liOROF CEUSEONLY
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                                       Exhibit A




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                                                                                              DIS                 URT



                          CIVILDISTRICTCOURTFORTÉlEPARISH OFORLEANS                                                     .
                                       STATE OF LOUISIANA

               NO                                   . .                                  Division:
                                        BYRONIESHA ALEXANDER
             2 ©4 t L ST y
                                                    VERSUS

                                HOUSING AUTHORITY QF NEW ORLEANS

          FILED:
                                                                        DEPUTYCLERK                       -
                                                         -        l
            PETITION FOR JUDICIAL REVTEW OF HOT TSING AUTHORITY DECTRION TO
                            TERMINATE HOUSINÖ ASSISTANCE            .


                 NOW INTO COURT, through undersigned c unsel, comes BYRONIESHA

          ALEXANDER,apemonoffullageofmajority,who forthispetitionalleges andsays:
O
                                        PRELIMINARYSTATEMENT
                                                             1.

                 PlaintiffByronieshaAlexanderisthesingle              ofachildinhisfreshmanyearof

          highschoolwhoreceiveshousingassistancebenefttsbecauseofherlowincome.


                 Ms. Alexander deperids on this housing assisthnee from the Housing Choice Voucher

          Program which is administered by Defendant Housing Authority ofNew Orleans CHANO3
                                                             3.                                               .

                 Unknowntoher,hertaxpreparerreportedincomeshe didnotearnonher'mcometax

          returns.HANOproposedtotenninateherhousingassistancebasedonthe discrepancybetween

          the income reported to HANO and that reported on her taxes.
                                                             4.

                 Ms. Alexander has amended her taxes to corrèct the income figure reported there. But
          HANO is still terminating her housing assistance because of the 'mcome originally misreported
          on her taxes.

                                                             5.




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                 Ms. Alexander seeks judicial review and reversal of HANO's decision as arbitrary and

          capncious.
                                             PARTES AND VENUE
                                                          6.

                 Ms.Alexanderisapersonoftheage ofmajorityresidinginOrleansParish.
                                                          7.

                 Housing AuthorityofNewOrleans("HANO")isapoliticalsubdivisionofthestateof
          Louisiana that operates conventional public housing and issues rental assistance under the

          Housing Choice Voucher ("HCV") Program, commelily known as Section 8.
                                                           8. .
                 VenueisproperinthisDistrictbecausetlienctscomplainedofoccurmlhere,Ms.
          Alexander resides here, and HANO has its offices and conducis its business here.
                                           FACTUAL ALLEGATIONS
                                                           9. .


                 Ms.Alexanderis asinglemotherwho liveswithherfourteen-year-oldson.
                                                           10.


                 Ms.Alexanderhasnoregularincomeandsois unabletopaymarketrentandrelies ona
          housing subsidy through the HCV program, administered by HANO, to be able to afford housing
          forherandherson.                                           .

                                                           1L

                 Under the HCV program, HANO pays Housing Assistance Payments to private landlords
          tosubsidizesome, andsometimesall, ofthecostofrentforparticipatingtenants. Basedonher

          carrent income, HANO currently subsidizes the full amount of Ms. Alexander's rent.
                                                           12.

                 HCV program participants agree to comply w:ith certain farnily obligations, including to
          supplyanyinformation equested by HANO foruseiharegularlyscheduledreexaminationer


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          interim eexaminadon offamilyincomeandcompositioitHANOAdministradvePlansec.15.2.
          Informationtheparticipantsuppliesto.HANOmustbetrue andcomplete.Id.

                                                            13. i

                 Violationofafamilyobligation(otherthanth'oserelatedto certaindrug-related,violent

   .      criminalactivity,andalcoholabuseprohibitions)isaldiscredonarygroundforterminationof
          youcher assistance. HANO Administrative Plan see. 19.3. "In making its decision to tenninate
          assistance, HANO may consider altematives and specific circumstances and may, on a

          case-by-casebasis,choosenottoterminatenssistanc‡"Id.
                                                            14.

                 While sotoe types of criminal activity may be grounds for mandatory termination, those

          grounds are Iimited to offenses not at issue in this case: sex related offenses, manufacture or

          productionofmethamphetamine,illegal drugabuse,            drug-relatedorviolentcrimimi activity.

          HANO Mminierative Plan secs. 19.2.5, 19.2.9, 19.2.11, and 19.2.12, respectively.



                 WhenHANOproposestermination,theparticipantisentitledtonoticeandaninformal

          hearing. HANO Adminisirative Plan seca. 18.5 and 19.9.
                                                            16.

                 HANO'sdecisiononterminationmustbebasedonapreponderanceoftheevidence.
          HANO Administrative Plan sec. 19.7.
                                                            17.

                 HANO has a choice of remedies besides termination. Their choice must account for
          certaintypesofmitigatingfactors:

                 In the case of family-caused errors or program abuse, HANO will take into consideration:
                      • Theseriousnessoftbeoffenseandtheextentofparticipationorculpabilityof
                         individualfamilymembers;
                     •   Any special circumstances surrounding the case;
                     - Anymitigatingeircumstancesrelatedtotbedisabilityofafamilymember;
                     • Theeffectsofapatticularremedyonfamilymemberswhowerenotinvolvedin
                         theoffense.

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          HANOAdministrativePlansec.20,7(emphasis added).
                                                         18.

                OnMay31,2024,HANO sent·Ms.Alexande anoticeproposingto renninatcherfrotn
          theHCVpmgramfur(1)failureto supplyrequired                ation, and (2)failuretoprovide
          truthfulandcornpleteinformation, inviolationofherfamilyobligationsundertbeprogram.
                                                         19.

                 The allegations were based on Ms. Alexander's 2021 and 2022 tax retums, which listed

          wagesandbusiness incomethatshehadnotreporteditoHANO.
                                                         20. .

                 TaxpreparersinLouisianaareunregulated andtixpreparerfraudiscommon.
                                                         2L

                 Taxp eparers oftenfalselyreportuneamedincomeforlow incomeclients, inorderto

          qualifyforthe"EamedIncomeCredit"andgenerateataxrefundorenIargeenexistingtax

          refund. Manypreparers doingsooftenkeepmuchoftheextrarefundforthemselves.
                                                         22.

                 Ms. Alexander was not aware of the wage and business income reported to the IRS until

          HANO brought it to her attention. The wages and business income were not accurate and were

          reported by her tax preparer without her knowledge qr consent.   .

                                                          23. '

                 Ms.AlexandertitnelyrequestedaninformalhearingonHANO'sterminationproposal.
                                                          24.

                 Ms. George contacted Southeast Louisiana L gal Services Low Income Tax Clinic

          attomey R. Paul Tuttle. At Ms. Alexander's request, Mr. Tuttle prepared amended tax retums for
          2021 and 2022. The amended returns were filed on Jùly 15, 2024, in advance of Ms. Alexander's
          informal hearing.

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                                                             25.

                    Mr.'ltttledeterminedthatbyamendingherrËturns,Ms. Alexander wouldincuradebtto

              theIRSofatleast$5,000,pluspossible interestandpenalties.
                                                                    I
                                                             26. |



                    AtherHANO appealhearing, Ms. Alexa                  providedthehearingofficerwithher

              amendedreturasandproposedeontinuingthehearin sothatitcouldbeaccuratelydetermined
              whatamount,ifany,shehadbeenoverpaidinhousingassistance.

                                                              27. .

                     OnNovember27,2024,HANO e-mailedMs Alexandernotice ofits decision dated
              November18,2024,to upholdtbetenninationofhousingassistanceforherandherson.Acopy
              ofthe decisionletterwas laterdeliveted bymailonDecernber5,2024.
                                                              28. '

                     Thehearingofficersettheeffectivedateoftheterminationfor December31,2024.

                                                IRREPARABLE M.lTTRY

                                                              29.

                     Ms. Alexander and her 14 year-old son have t o alternative housing available and cannot
              affordtopaymarketrate ent.They fnce imminentepetion andbomelessnesswhentheir
              housing assistance paymettts are terrninated on December 31, 2024,

                                                              30.

                     Shecannotaffordtopayforastorageunit, soishewouldlikelylosemanyofher
              belongings and furniture

                                                              31.
          ·                                                             l

                      Further, Ms. Alexander would be unable to enter a new lease for the foreseeable fntare
                                                                        I
              should HANO's decision go into effect and later be úversed. This is because she lacks funds to
              topayfirstmonth'areatplusdepositasrequiredtoeËtermostnewi·entalagreements.




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                                           FIR ST CLAIM FOR RFLIEF

           The Hearing Officer's decision is arbitrary and capricious because its finding of facts are
           based on income reported in her original tax retdrns which Ms, Alexander acknowledged
                 to be wrong and assumed a dgnificant liability to correct before the hearing
                                                            32.


                 PIaintiffre-alleges andincorporatesbyreferenceallallegationsinallpreceding
          paragraphs.

                                                            33.

                 HANO's findings of fact included that Ms. Alexander failed to report $14,690 of wages
          forcalendaryear2021 whensbesubmittedherApplicationfor ContinuingOccupancyonMay
          23,202L



                 Ms. Alexander did not make $14,690 in wages in 2021 and did not tell her tax preparer
          Satshedd
                                                             34.
                 Ms. Alexander itmnediately took corrective action when she learned of the false

          representation of her income, assutning a significant financial liability to do so.
                                                             35. .

                 Whenshe filedherarnendedreturnfor2021 nJuly 15,2024, shereportedthesame
          amount she certified in her Application for Continuing Occupancy: zero.

                                                             36.
                 This information was available at the hearing, and the amended 2021 tax zeturn was
          submitted into evidence.
                                                             37.

                 Ms. Alexander testiñed that she did not make $14,690 in wages in 2021 and that tbat
          numberwasprovidedio theIRSwithoutherknowledgeorconsent.
   .                                                         38. ,



                                                            6      .


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                  Nevertheless the decision to tenninate Ms. Alexander's housing assistance is premised
          ontheemmeousnumbers onthe original.

                                                               39.
                  The hearing officer's iindings of fact also included that Ms. Alexander failed to report
          $9,918 in wages and $6,364 and business income for calendar year 2022 when she submitted her
          Application for Continuing Occupancy on June 21, 2022.
                                                               40.

                  Ms.Alexanderdidnoteatu$9,918inwages andS6,364inbusinessincomeincalendar

          year2022 anddidnottellbertaxpreparertbatshe did.
                                                               4L

                  Ms. Alexander reported her income as required when she certified her Application for

          ContinuingOccupancyon June2132022.
                                                               42.

                  She assumed a significant fmancial liability tö amend the 2022 retums before the hearing.
                                                               43.
                  Thecorrectnumbers wereprovidedtothehearingollicerthroughheramended2022

          returnstbatwere submittedintoevidence.

                                                               44.
                  Thehearingofficerignoredthosenumbersantlinsteadreliedonínflatedamountsthat

          Ms.Alexanderacknowledgedtobe inaccurate andprovidedevidence ofheractualincomefor
          2022.                                            .

                                                               45.

                  The decision to terminate Ms. Alexander's housing assistance is an abuse of direction e. t
          basedontbearbitraryandcapricious decisientorelyþnthefalsereportingofataxpreparer
          instead of her actual income from calendar years 2021 and 2022.
                                          SECOND CLAIMFORRELIFF




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               HANO's decision is arbitrary and capricious because Ms. Alexander was terminated for
                huproperconduct forwhichprogram terminationisnotauthorized, rather than for
                                                unreported income.
                                                                46.               .

          .          Plaintiff re-alleges and incorporates by reference all allegations in all preceding

          Paragraphs.
                                                                47.

                     Ms.Alexanderwasnotierminatedfromthep grambecauseofunreportedincome.She

          wasterminatedbecauseherincometaxformareportedherincome 'maccurately, eventhough she
          was not the person who made this error.                     .

                                                                48. =

                     TerminationframtheHCVprogram ispennit edonlyforylolationofspecificprogram
              requirements.Terminationforcrimbl activityislimitedto offensesinvolvingdrugs,violence,
              or sexual abuse.

                                                       .        49. |
                     Misreportingofincomeonincometaxforms,jevenifithadbeendonebyMs.Alexander,

              isnotan authorizedbasis forimrminationfromtheprogram.
                                                                50. ,

                     Upon information and belief, HANO's claim that tbe termination is based on unreported
                                     .                                !
              income is pretextual, and HANO understands the er or lies in the nonexistent income reported by

              Ms. Alexander's tax preparer, not in the income infoñnation she reported to HANO.
                                                                5L i

                     Asaresult, Ms.Alexanderisnotbeingterminatedforanyalleged violationofherfamily

              obligations. Ms.Alexanderisbeingterminatedforso'meoneelse's conduct,whichhas
              victimizedherandherfamilyandtbatis notenumerëedinHANO'sadministrativeplan.
              Purporting to base her termination on a failure of faniily obligations is both arbitrary and

              capricious andanabuseofdirection
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                                           TmRD CI.ATMFORRFJJEF

             The Hearing Officer's decision is arbitrary and capricious and an abuse of discretion
          liecause it did not consider mitigating factors, as               quired by HANO's Administrative Plan.
                                                             52.
                                                                    1


                 PlaintiHre-alleges and incorporates by refereòce all allegations in all preceding

          Paragraphs.
                                                             53.

                 HANO's A dminivtrative Plan requires that HANO consider the following when

          detennining whether to terminate assistance for family caused eanre and/or pmgram abuse:
                        -   Theseriousnessofthe offenseandthe!extentofparticipationorculpabilityof
                            individual family members;
                        - Any special circumstances sumnmding the case;

                        -   Anymitigatingeircumstancestelaindiothedisabilityofafamilymember;and
                                                                        1

                        -   Theefects ofaparticularremedyon familymemberswhowerenotinvolvedin
                            the offeuse.
          HANO Administrative Plan sec.20.7 (emphasis added).
                                                              54. .

                  The hearing ollicer failed to consider any of these factors, including the fact that Ms.
          Alexander'schild wouldfaceevictionandhomelessriessiftheterminationwasupheld.
                                                              55.
                  Thehearingofficeraiso failedtoconsiderthatMs.Alexanderwasavictimoftax

          preparerfraud, andtockstepstocorrecitheerroronhertaxretums assoonasitwasbroughtto

          her attention, despite incurring liability to the IRS.

                                                              56. I

                  HANO's faihue to follow its own policy that                 uires consideration of the above

          mitigating factors renders the hearing officer's decisipn arbitrary and capricious and an abuse of
          discretion.                                                                                             .


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                                         FOURTIICLAIM PhR RELIEF

             HANO'S Decision to Terminate Åssistance is Based on an Arbitrary and Capricious
                       ShifungoftheBurdenRatherthanSubstantialEvidence

                                                            57.
                 Plaintiff re-alleges and incorporates by reference all allegations in all preceding
                                                                      I
          paragraphs.
                                                            58.

                 The decision to uphold the termination of Ms. Alexander's assistance cites to section 19.7

          of it's administrative, "Criteria for Deciding to Termitiate Assistance":
                 HANOwillierminateassistanceifapreponderance ofevidenceindicatesthata
                 household member has engaged in the activity. "Preponderance of the evidence" is
                 defmedasevidencewhichisofgreater weightormoreconvincingthantheevidence
                 which is offered in opposition to it; that is evißence which as a whole shows that the fact
                 soughttobeprovedismoreprobable.thannot.

                                                            59. ,
                 Thehearingofficerthenstatesthataviolationofafamilyobligation, specificallyafailure
          10 supplyrequiredinformation,was establishedbecauseMs.Maranderdidnotprovsthat

          "incomes reporind on your IRS tax retums were prepäred, submitted and processed in a

          fraudulent manner to the IRS."
                                                            60.                                          .

                 The only evidence put forward by the hearing officer is that "[t]he IRS needs your

          signaturewhenataxreturnispreparedpriorto submission*.
                                                            61.

                 Thirdputies canbeauthorizedto signadocumentonataxpayer'sbehalfanditis

          common practice for tax preparers to assume such authority.

                                                            62.

                 The decision to terminate Ms. Alexander's hésing assistance for not meeting a burden
          she does not carry to prove the wrongdoing of someo'ne else is arbitrary and capricious, an abuse
          of discretion and not supported by substantial evidence.


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                                              PRAYER FOR RELTEF

          WHEREFOREthePlaintiffrespectfullytequeststbatthis Comt:

             a. Allow Plaintifftofle this actionandproceedhformapauper/s;
             b. StayHANO'aproposeddecisiontoterminatePlaintiffByronieshaAlexander'shousing
                  assistancependingtheoutcomeofthis case,oriftemanded,pendinganynew
                  namideativehearingdecisiononherease;

             c. OrdertheDefendantto filetbecompleterecordofitsadministrativereviewofMs.

                  Alexander's proposedterminationfromtheHCVprogramforthecourt'areview;

             d. After reviewofthezecordandhearinganya                  tsofcounsel,reverseDefendant's
                  decision as not based on substantlal evidence, arbitrary, capricious, and an abuse of

                  discretion; and

             e. Tax costs oftbis proceeding to the Defendant; and
             f. AwardotherreliefasthisComtmaydeemtobejustandproper.

                                                        Respectfully submitted:

                                                        SOUTHEASTLOUISlANALEGALSERVICES


                                                        By:

                                                        JACK MUSE, LSBA #36237
                                                        1340 Poydras St. Suite 600
                                                        New Orleans, Louisiana 70112
              _                                         Telephone: (504) 529-1000, ext. 612
                                                        Fax: (504) 596-2241
                                                        Email: iinnse@sils.ore

                                                        AttorneyforPlaintifByronteshaAlexander



          Please Serve:

          HousingAuthorityofNewOrleans
          Through Counsel, Tiffany Boveland
          4100 Touro St.
          New Orleans, LA 70122



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                                                 VERIFICA1kON

          STATE OF LOUISIANA
          PARISH OF ORLEANS
                 BEFORE ME, the undersigned authority, personally carne and appeamd BYRONIESHA

          ALEXANDER who, being by me first duly swom, deposed; that she is the plaintiff in the

          attached Petition, and that all allegations of fact made in the Petition, except those allegations
          expresslymadeoninformationand belief; affantbelievestobetrue.



                                                               B7RO        SHAALEXÃNDER

          SWORN TO AND SUBSCRIBED
          BYMEONTHIS ZBN DAYOF                             de/m       F/          ·      .2024.




          NOTARY PUBLIC                                                 Paul R. Tassin
                                                                         Noiary Public
                                                                     Notary ID No.187187
                                                                    Orleans Parish, Louisiana




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                                       Exhibit B




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                                                                                                     DISTRICT COURT



          November 18, 2024



          Byraniesha J. Alexander
          2103 Bienville Street
          New Orleans, LA 70112


                    Re:    Informal Hearing Decision of Proposed Termination of Housing Choice
                           Voucher Proaram (HCVP) Participation - Byroniesha J. Alexander

          Dear Byrmiesha J. Alexander:

          You requesied an Informd Hearing ofHANO'sdecisbntoterminate ymrHCVP parlicipalion. Yotrhearing
          was held on July 24, 2024 at 2:00 PM. Alter reviewing 1he record and based upon 1he evidence presented
          during the hearing 1he Proposed Termination of your HCVP parlicipalion is U aheld.
          Hearing Participants

           Head ofHousehold                   Byroniesha J. Alexander- in Person
           Participant's Represerdadve        Jack Muse. Esq.. -1.awyer - Southeast Louisiana Legal Service
           Administrative Analyst             Simone Moore
           HANOStaff                          MonicaNew
           Other - HANO Staff                  Rita Corass - In Person
           Other-                              -
           Other-                           | -
          Proposed Termination Allegations

                       Violation                                       Alleged Actions
           Failure to Supply Required         HANO alleged: that you failed to report eaminos as reported on your
           Information (income Change)        Intemal Revenue SeMce (IRS) Inœure Tax Relums for calendar vess
           (24 CFR 982.651 (b) (2))           2021. and 2022.

           Truthful and Complete              HANO alleged: that you sianed Applications for Coniinued
           Information (24 CFR 982.551        Occupancy (ACO) certifyina household income that did not include
           (b)(4))                            esminq(s) reported on your IRS Tax Re1urns for 2021 and 2022 and
                                              employmentireme forhousehold member. Larian Francios.
                                              HANO alleged:




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                The Housing Authority of New Orleans is an equal opportunity employer.          s2af7
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          Findings of Fact                                                                                       CML
              1. You completed ACOs certifying household income that did not include your e           GT COURT
                 reported on your IRS Tax Retums for calendar years 2021 and 2022:
                    • May 23, 2021: you listed unemployment benefits as your only source of household
                         mcome.
                    • June 21, 2022: you lisied contributions benefits as your only aou rce of household
                         mcome.
              2. The following eamings are reporled on your IRS Tax Returns that you failed to report
                 when completing ACOn certifying household income at HANO:
                    • CalendarYear2021:
                             L IRS Tax Return reported wages of $14,690.00.
                    • CalendarYear2022:
                             L IRSTaxreturnreported
                                     1. weges totaling 9,918.00.
                                    2. businesa income totaling $6,364.00
              3. June B, 2021: Hire date for household member, Larian Francois, with Admiral Enforcement,
                 LLC. Employment continued through June 16, 2023.

          Discussion and Conclusion
          Due Process
          HANO adequately provided you nolice of your alleged violation on May 31, 2024. The nolice stated the
          authority on which lhe Housing Au1hority relied 10 reach its decision, and you were afforded an opporturity
          lo request a hearing.
          Violation #1 - Failure to Supply Recruired Information (Income Chanae) (24 CFR 982.551 (b) (2}i
          During 1he hformal hearing youratlarney asserted thatyou reported your incore correcdy lo ihe lax
          preparer and HANO, but1he lax preparer reported the information incorrecdylo ihe IRS. You tesiified
          that you signed1he lax relums butdid not look at the documents at all.

          The IRS has a "Tax fraud alerls" secdæ æ ihewebsite ihatsiales, b part, thefallowing:
                  "Taxpayers should be very carefti when choosing a tax preparer. ... a few unscrupulous return
                  preparers lile false and fraudulent1ax returns and ultimately defraud1heirclients. It is important to
                  know 1hat even if someme else preparers your return, you are ultima1ely responsible for all Ihe
                  hformation on ihe lax retum."
          Your legalcounsel admitted intolherecord 1040Xamendediax relumsforcalendaryears 2021 and 2022.
          Itappears these documeniswere prepared bysialf at Low Incore Tax PreparerClinic; specNically R. Paul
          Tuttle. These documenis are accompanied by IRS Form 2848, Power of A1torney and Declaralion of
          Represen1alive signed by you 6/25/24. The packetofpapersare inclusive of a Fax CoverSheetio support
          that a 1he Form 2848 was faxed overlo lhe IRS. Though the 1040.X amended Iax relums are filled out,
          1herewas noindication ihat1heforms had beenliledwe the IRS. HANOwouldneedoflicialdocumenialim
          from the IRS 1o show 1hat they received the amended relum 10 calculate the amount owed 1o HANO, il
          anything.

          Amually you complete HANO Form Housing Choice Voucher Program Family Obligalions. Under the
          Family Responsibilities, itstales in part the following:
                  The family must: SupplyanykfænationihatHANOorHUDdelerminesiobe necessary... for
                  use in ... reexaminalions of famly income and composition.

          Amording to HANO'sadminisirative plan seclim "19.7 Criieriafor Deciding toTerminate Assistance"·

                  HANO wm feminate assistance if a preponderance of the evidence indicates fhat a household
                  memberhasengagedintheactiväy.'Preponderanceoftheavidence"isdefinedesevidencewhich


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                  isolgreaterweightormoraconvincirigtharttheevidencewhichísdferedincppo 'l                 t
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                  is,evidencewhichasewholeshowsthatthefactsoughttobeprovedismorepro
          Ye have been found 1o be b vidalim of yow family obliga1ions for Failure lo Supply Requirea
                                                                                                                CIVIL
          Information/Income Change(24CFR 982.551 (b)(2)). Therewasnoevidencesubmitted by S IfeIrCOURT
          legal counsel lo support that hcomes reported m your IRS Tax Retums were prepared, submitted, and
          processed in a fraudulent manneriolhe IRS. The IRS needs yoursignaiurewhen alax return is prepared
          prioriosubmissim. Thatrequiredsignature portionofan individudstaxreturn hasihefollowhg disclaimer·
                  Under penalties d perjury, I declare that I have examined this retum and accompanying schedules
                  and statemenis, and iolhe bestómy knowledge and belief, they are true, correct, and compleie.

          Asa resultdyoufailingloreportearnedinæme(s)1oHANOatyouramualrecerliiications,HANOoverpaid
          Housing Assistance Paymenis (HAP) Iotaling $4,552.00 and UtilNy Allowance Payment (UAP) Iotaling
          $1,876.00m behalfdyourfamily... acombinedio1alof$6,378.00.
          Vidation #2 - Truthhrl arid Complete Iriformation (24 CFR 982.551 (b)(4))
          Based m the evidence detailed in 1he iirst vidalion, you signed forms cerlifying 1hat the hformalion
          regardingyowhousehddcomposition incomewastrulhful and complete. However, you did nothavelhe
          earnings as reporled m your IRS Tax Relums for calendar years 2021, and 2022 on either of the ACOs
          completed on the dates referenœd in 1he Findings d Facts above. The ACOs you completed, signed, and
          submitled io HANOwereundercertificationd1hefollowing:
                  I hereby ærlify 1hat I am the Head d Househdd and that all informalion on this application is 1rue
                  and accuraleiolhe bestofmy knowledge and1hatthe boome forall household memberhas been
                  reported.

          The IRS Tax Relum Forms you signed were a dedaralim 1hat you had reviewed the documents and Ihus
          made you aware of1he income induded.
          You have been found to be h vidalim d your family obligalims due to your failure 10 provide Trulhful and
          Complete Information (24 CFR 982.551 (b) (4) concerning yow household income.

          Decision
              1. HANO'sproposaltoterminate yowprogram participationis U3held.
              2. YourHCVPassistance will be terminated effeclive December31, 2024.

          Sincerely,



          Simme R. Moore
          Adminisirative Analyst
          Housing Authority d New Orleans
           CC:       File
                     Monica New
                     Rita Corass
                     Sonja Young
                     Djuna Glapim

           Parlicipant's Name       Byroniesha J.Alexander
           EnlityID#                000049274




                                                              3
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                                       Exhibit C




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                         .afedim            er:mh           *                 JUDICIALDISTRI                                   P0t53
              VERSUS                                        *       DOCKETNUMBER
                         6 b,4 2 A/ew O)pptj*                                              PARISH,


                                                In FormaPauperisAffidavit                                                  .

                                            All anestions must be answered in full

              N    : Questions 2 and 3 should not he filled in if you am seeking protection imm abuse.

              1. YourNIName:            1       Onithi 9v cc, Re v
                  SocialSecurityNumber(Optional):                                ateofBirth:

                  Age: ,                                                                          Sex:

.             2. Address: e                 \ff\d(                      t%OdØv6                (4             %|A
                             (BoxNumber or StreetAddress)               (City and State)                  (Zip Code)
                             (See Note above)

              3.TelephoneNumber(s): (HOME -                       d7Q3(WORK)                d|A
                                    (See Note above)

              4. Are you a Student?                       O If yes, pIoase indicate the name of the school you
                 areattending:                                             Enrollment Status: È k

              5. Current Household:                  /
                 Single:    Married:      Separated:   Divorced     Widowed:       Intimatepartner
                 How many children do you support who aro under 187
                 How many children live with you? \         Do you have any other dependents?
                 StatetheName,AgeandRelationshiproyouofthechildænand dependenis:
                 NAME                                                      AGE      RELATIONSHIP
                  | LforM           bi0f         ¼½r                                P-1           GQL)
                    Lfelion BoulchTyrwro½                                          Ad          S4rf



              6.WhatisyoureuræntOccupation?                    Areyonemployed?                            S       O
                (Ifyes,pleasecompletethefellowingEmployerInformation)
                NameofEmployer. -Xvdr.-
                Address60 6ec3e           ‰ h fy On                 Av4i n
                     .       (StreetAddress)                    (CityendState)                           (ZipCode)
                  TelephoneNumber:          -    Vl49                 Howlonghaveyoubeenemployed

                  (Ifyouarenotemployed. pleasepmvide informationofyourlastemployer)                       .
                  Name oflastemployer:
                  Address:
                             (Stæet Address)                (Cityand Slate)                              (Zip Code)
                  How long have you been unemployed?
                  Whatwereyourmonthly wages?

              7.GrossIncome: (a)Stateyour asseamedinco                 fromwagesandhowyouarepaid:                                  .
                 Weekly?    hi-Weekly?    Monthly?                              Amount/month$QhM

                  (b) Apart m income or support listed in response to question 8(b) below, how mucn other
                  income do you receive on a monthly basis?                                   $

                  (c)Monthly Deductions:FederaiIncomeTax:3                    FICA:$                 $

                  (d) Other deductions: (explain)

                  TOTALNETMONTHLYINCOMEi(Addquestion 7(a)+                                 s                           -
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                                                                                   66 of 100

              8(a). Ifyoumemarriedandlivewithaspouse,pleaseanswer:               2025JAN08 P0t53
              Isyourspouseemployed?P|4 Whatistheoccupation ofyoutspouse?                  g.
              IsyourspousepaidWeekly?|    Bi-Weekty?       onthly? Amount/month$         TCOURT
              Name of spouse's employer:   9/ A
              Address:      SilA
                           (Str tAddress)          (CityandState)              (ZipCode)
              TelephoneNumber:        ky .         Howlonghasspousebeenemployed? Ü/A
                  8(b). Do you oryourspouse receive any of the following income or support?        S              NO
                     Ifyes,stafethementhlyamount. SSI:$          OfA        Disability $9IA
                     Worker's Comp:$ 9               UnemploymentBenefits:$ Qh
                     FoodStamps:StGlo.OO         TANF:3        ÑÌh           ChildSupport-$      /A
                     Spousal Support: $ © k     Kinship Care Subsidy Grant: $ Ö           Other: $

                  If you are a cliette of a legal services program innded by the Legal Service Corporation or a
                  Pro Bono Project that receives referrals from a legal services pmgram and have a
                  combined income from questlens 7 and 8 that is less than or eq nal to 125% of the federal
                  poverty level, skip all parts of question 9, and continue with question 10 on the next page.

                  9. Doyouownerhave an interestin any ofthefollowing?(Includingcommuttyproperly)
                  A.                                            VALUE OFINTEREST                BALANCEOWED
                   HOUSE                                                                    $
                   AUlVMOBILE                                                               S
                   TRUCK                                                                    $
                   WATERCRAFT            -                       S       Q A                $          h
                   LIVESTOCK                                     S       ,.) k              $
                   MACHlNERY                                    S       J|A                 $
                   STOCK                                        S
                   BONDS                                        S
                   CERTIFICATES OF DEPOSIT                      $
                  |OTHERIMMOVABLEPROPERTY                      |Equity$   ,Wh-             |Debt$
                  DOYOOHAVEABANKACCOUNT(S)?ÜYES WNO 'Amountin ecount(s):$
                     CHECKING   SAVINGS NameandLocationofBank:                            N r-
                  T(yIALVALUEOFASSETS: $ h

                  B. L List your Monthly Expenses:
                  |Rent:$4MhMP)               |Cable:S N/A                                CarNote:S N/k
                   LotRent:     W|6..         |Garbage:S d|A                              CarInsurance:S hilA
                   HouseNote:S d|6            |MedicalInsuratùm:$                piÀ      Transportation:$ þ|Ñ     .r.
                   Houselnsurance:S djA              MedicalExpenses:S cÃE.\             |Food:$.
                   Gas:$ Q(k                         DentalExpenses:$NrAc¢À               Barber/BeautyTS v3|R
                   Electricity:$        nh           Prescriptions:S \.hAWd                Entertainment:5 blIA
          .        Water:$ Wh                        LifeInsurance:S Wh                   GroomingSupphes:S
                   Telephone:SMS.hn                  Dayesre:S         \h'                eamishment:s     NI6
                   PmperlyTexes:$ d(tr               ChildSupport-$                       Other:5 a
                  TotalAmountofseclionk                                                             $9 M8)

                  iL Creditcards:(Listtypeofcanlandmonthlypayment)
                  Card Name                                                             Monthly Payment




                  Tofal Amoònt of section ii:                                                        kl¼

                  iii. Financial Loans: (List the financial institution and your monthly payment)
                  FinancialName                                                         Monthly Payment




              |                    k                                       |                 M¼
              TotalAmount fsectionlii:                                                          LS     Nik

              TOTALMONTHLYEXPENSES:(Add 9B(1+ii+iii)=TotalMonthlyExpenses) $.


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                                                                                    2025JAN08 P0t53
10. Does anyone regniarly help you pay your expenses?                                S       IL
(a) Ifyes,    thatpers snameandrelationshiptoyou'                 .                  DISTRICT COURT
     Name:     ftw nM.W                                 Relationship:            . Wx /
(b). Doyouhavesny additional incomecrasselsthatarenotshownabove?                   YES     O     .
   Ifyou unsweredyes to either (a) er(b), please explaim




1L If you have an attorney, what arrangements have you made to pay your attorney's fee?
   Whatamount,ifany,haveyou aid?(Youarerequindtoanswerfully.)



12, HasyourattorneyortheNotaryFublictoldyouthatyoumayg to ilif
    intentionally give a false answer to any of the above questions? YES                      O


                                 MOVER'S AFFIDAVIT
STATE OF I OUISIANA
PARISHOF       ORE
       BEliORE ME the undersigned authority personaIly came and appeared:
                                   CAÛFSffA             . È        AND
       who, after being duly sworn, deposed and said:

    I. He/Sheprovidedthe informationabove;thatthe informationisfurnishedtothecourtfor
       thepurposeofrequestingpermissionto litigaiethe abovecaptionedlawsuitwithout
       paying the costs in advance or as they accrue or fumishing security therefor.

   2. 'Ihattheaboveinformationis atrueand correctstatementofhisaierfinancialcondition.

   3. ThatchepleadingandallallegationsoffacttheæInaietrueand correct;andthat
      because of his/her poverty and want of means, he/she is unable to pay the costs of court
      in advance or as they accrue, nor is he/she able to provide security therefor.

   4. He/Shehasreadandunderstandstheprivilegecontainedirithenoticebelow.

                                           NOTICE
  Although you may be granted the privilege of proceeding without prepayment of costs,
SHOULD JUDGMENT BE RENDERED AGAINST YOU. YOUR STATUS AS A
PAUPER DOES NOT RELIEVE YOU OF THE OBLIGATION TO PAY THESE COSTS.
    The privilege to proceed M FOR3fA PAUPERIS is restricted to litigants who are clearly
entitled to do so, with due regard to the natum of the proceeding, the court costs which otherwise
would have to be paid, and the ability of the litigant to pay them or to fumish security therefor,
sothattheindiscriminatefilingoflawsuits may bediscouraged,withoutdeprivingalitigantof
the benefit of proceeding laformapauperts if he/she is entitled to do so.



                                                                        er's Signature


       SWORNTOAND SUBSCRlBEI)BEFOREM aNotary Publicin 04A.A.)
Louisiana,this dayof  fØm.DM ,2                          . c



                                                            TARYaF       IJd .
                                                                 ELU.AsETaMAaV           ..
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                                                                                                                 CML
                                         THIRDPARTYAFFIDAVIT                                          DISTRICTCOURT


          STATE OF LOUISIANA
          PARISHOF Ott.

                 BEFORE ME, personally came and appeared: ÚAYbnTF, RENE li f.,thtfL)
          who, after being swom, deposed and said that he/she knows 1HP Orde CMA                    Al AYdWD€ll'
          wellandthathe/sheknowsthatbecauseofhis/herpovertyandwantofrneans,he/she isunable
          to pay the costs of court in advance or as they accrue, nor is he/she able to provide bond therefor.



                                                                                 Signature of Wimess


                 SWORN TO AND SUBSCRIBED BEFO                       ME, a Notary Public in            OriG®PS
          Louisiana,this Üdayof DuA.ychrif,20                   .                                           ..




                                                                                             MyCome   anbierufs

                          LEGAL SERVICE PROGRAMS' DECLARATION
                I ATTEST that I am a duly authorized representative of a Legal Services Program funded
          by the Legal Service Corporation or a Pro Bopo Project that receives referrals from one of these
          Legal ServicePrograms, andthat TNPentaffA                     Armvaa0FiEssproducedevidence
          that he/she receives public assistance benefits, or that he/she has qualified to receive free legal
          services based on his/her income being less than or equal to 125% of the federal poverty level
          and therefore is entitled to a rebuttable presumption that he/she is entitled to the privilege of
          litigating withoutpriorpaymentofcosts.


                                                 Legal Servfces Pro      m or PrdBono Project Representative




                                                        ORDER
                , Consideringtheforegoing Pleading and Affidavits:
          Iet                                         prosecute or defend this litigation in accordance with
          LouisianaCodeofCivi]Procedure,Article5181,et.seq.,withoutpayIngthecosts inadvanceor
          as they accrue or furnishing security therefor.

                 THUS,READANDSIGlGD,this                        dayof                        ,200      in
                         , Louisiana.



                                                                              DISTRICT JUDGE




                                                                                          VERiRED
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                                              -                                        ..   - '^ DI{hTRICTCOURT



                  CIVIL DISTRICT COURT FOR                        PARISH OF ORLEANS                               .
                                 STATEOFLO                       SIANA

          NO. A ò 34 - U                                                                    Div 3p:
                                   BYRONIESHA AI1XANDER
                                                  VERS

                          HOUSING AUTHORITY OF NEW ORLEANS

    FILED:
                                                             1           DEPUTY CLERK

         EMERGENCY MOTION FOR STAY OF HOUSING AT7fHORITY DECISION
                        PENDING JUDICIAL REVIEW

           PlaintiffBYRONIESHAAIRXANDERwholmovesforastay ordertoprevent
    DefendantHousing AuthorityofNewOrleans('                     0")ftomterminatingtheHousing
    AssistancePaymentstoMs.Alexander'slandlord,                  tocccuronDecember31,2024.

           As laid out in her Memorandum in support,              . Alexander is likely to succeed on the

    meritsofhercasebecauseHANO'shearingdecisionitoterminaicher assistanceisarbitraryand
    capricious and contrary to HANO's own policy. Moreover, Ms. Alexander and her 14 year-old
    child withadisabilityfaceirreparablehanninthe formofcertaineyletionandhomelessoessif

    HANO's action is not stayed until1he Court can review its action. Further, Ms. Alexander would

    beunebieto enteranewleasefortheforeseeablefutureshouldHANO'sdecisiongointoeffect
    andfaterbe2eversed.Thisisbecausesbelacksfundstopayfirstmonth'erentplusdepositas

    required to enter most new rental agreements..



                                                  Respectfully submitted:                                   .
                                                  SOUTHEAST LOUISIANA LEGAL SERVICES
             .                                     By:
                                                   JACK IUSE, LSBA #36237
                                                   1340 Poydras St. Suite 600
.                                                  New orleans, Louisiana 70112-2401
                                                   Telephone: (504) 529-1000, ext. 612
                                                   Fax: (504) 596-2241
                                                  jmnse@sils.org
                                                  Atto           forPlaintifByronieshaßexander
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                                                                                       CML
                                                                                  DISTRICT COURT



                                        CERTIFICATElOFSERVICE
                I,theundersigned, do certifythatacopyofthbabovemotionhasbeenservedupon        ·

          Defendant,byfustelassmailandelectroniemailthis   dayof    tedm ber ,2024.



                                                Pau1TassiwLSBA#40069




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                                                                                                   DIS         RT



                        CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS                                    4.
                                       STATEOFLO SIANA

                NO.                                                                           Division:
                                           BYRONIESHAALEXANDER
                                                       VERSUS

                                 HOUSING AUTHORITY OF NEW ORLEANS

          FILED:
                                                                            DEPUTY CLERK


                                                      STAY ORDER
                                                                   I
                 ConsideringtheBmergencyMotionfor StayófHousing AuthorityDecisionPending
          JudicialReview,theirreparableinjuryatissue, andtheplausiblemeritofthepetition, andtbis

          Court's authorityinparamaterlatothestatutoryauthbrizationunderLa.R.S.49:978.1toissue
          an ex parte stay while the case is on judicial review:
                 ITIS ORDERED1hattheheating decisiondhtedNovember18,2024,terminatingMs.

          Alexander's housing assistance as of December 202 is STAYED until further order of this


                  [and/or]
                                                  .                I
                 ITISFURTHERORDERED thetifthe                            AuthorityofNew0rleanswishesto
          terminatethestayitsballshowcause onthe                       dayof                 ,2025 at

                             o'clock_.m., why HANO should              be stayed from terminating Ms.
          Alexander'sassistance,settoterrainateonDecembed31,2024,ormayatalaterdatefileaRule
          to Show Cause why the stay should not be terminated
                 [andifahearingis ordered]




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                                                                                   DIST




                    ITISFURTHERORDEREDthatifDefendantseeks.tohavetheCotut'sstaydecision

          bebasedoniheadministrativerecord,atleast3worhdaysbeforethehearingDefendantshall
   .      filewiththeComtanddelivertoPlaintiffscosmsela|completecopyoftheadministrative

          record.

                    SignedinNeworleans,Louisianaon                                  ,2024,

          at               o'clock_m.


                                                     JUDGE


          Serviceinstructions onnextpage.                                                      ·




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                                             ·               l




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                                                                                DISTRICT COURT



          Please Serve:
          Housing Authority ofNew Orleans
          Through CounseL Tifany Boveland
          4100 Toum St.
          New Orleans, LA 70122




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                         CIVILDISTRICICOURTFORTHEFARISHOFORLEANS
                                       STATE OF LOUJSIANA

     .            NO.                                                                      DiWon:
                                         BYRONIESHA ALÉXANDER
                                                      VERSU
                                HOUSING AUTHORITY                  NEW ORLEANS

          FILED:
                                                                        DEPUTY CLERK

                MEMORANDUM IN SUPPORT OF EMEltGENCY MOTION FOR STAY OF
                  HOUSING AUTHORITY DECISION PENDING JUDICIAL REVIEW


             L INTRODUCTION
                  TheunderlyingpetitionforzemandarisesfromtheHousing AuthorityofNewOrleans'

          decisiontouphold1heterminationofMs.Alexander' Housing ChoiceVoucherProgram

          CHCVP") benefits. Unless ilmnediately stayed, Ms. Alexander's termination will go into effect
          onDecember31,2024, andHANOwillceasemakingHousingAssistancePaymentstoMs.

 .        Alexander'slandlord as ofJanuary 1,2024. Ms.Alexandercannotaffordtopaythefullrentby
                                                               I
          herselfbecauseofherlimitedincome.I lmmediately                , Ms.Alexander'slandlord canfile

          apetitiontoevictMs. Alexanderfromherhomeforronpaymentofrent.Ifthishappens,Ms.

          Alexander and her child will be rendered honieless and will suffer severe emotional, acadernic,

          and economicharDi.

                  Thereisno specifiestatute governingthejudicialreview,butcourtshaverecognizada

          rightfojudicial review as io agencies outside the stat 's Administrative Procedure Act and have
          appliedsimilarprocedurebyanalogy. La.R.S.§49: 8.1 intheLouisianaAdministrative
          Procedure Act authorizes an exparts stay.

             IL         STAYPROCEDURE

                  Thejudicialreviewprocedures,oftheLouisianaMminiwrstiveProceduresAct

          ("LAPA")permitareviewingcomttoorder"astayhpatteuponappropria eterms...."La.



          1 All supporting factual aIIegations are verified by P intiffByroniesha Alexander in her
          accompanyingPetitionforJudicialReviewofHousingAuthority DecisiontoTerminateHousing
          Assistance. Except for some facts supporting ineparable injury, these same facts will appear in
          thehearingzecord, oncecompiledfortheComtbyDefendant.


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          R.S.§49:978.1(C)(emphasisadded). LAPAdoesnotapplytolocalbousing authorities,which
          erepoliticalsubdivisionsofthestate.La.R.S.40:406(B)(exemptinghousingauthoritiesfrom
          LAPA); La. R.S. § 49:951(3) (specifying state agene es are subject to the LAPA). However,             ·

          where"no standardofjudicialreviewissetoutin                   law...themostlogicalstandardisthatset
          forth in ... analogous, cases ... and... under the Ad binistative Procedure Act." Messina v.

          RapidesPar. Police.hey,373 So.2d 745,749(La.                   .3d Cir.1979),wrirdenied,376So.2d
          1268 (La. 1979)."
                 NotablyatleastoneLouisianaCourtofAppe hasupheldastayofahousingauthority's

          decisiontoterminateaparticipant'sHousing Choice aucherProgrambenefits duringjudicial

          review. Williamsv.Hou.r.Auth.ofCityofSlídell,No.2015 CA 624,20I5WL6951286(La.
          App.1stCir.Nov.9,2015)(styled esaprelirninary junction).

    ·            TheLAPAprovisionpermittingastayisnott,mique.Judicialreviewsthatgetfded

          dhectly in the Courts of Appeal are also explicitly subject to a stay: "A stay pending review by
          theCourtofAppealofanyrulingordecisionofanadmitsstrativebodymay be grantedeitberby
          thatbodyorbytheCourtofAppeal onlyinthosema ers wheretheauthorityisexpressly
          grantedbylaworinexerciseofsupervisoryjurisdictionbytheCourtofAppeal"La.Unif. R.

          Cts. App. 3-L4.
                 TheLAPAprovidesthatinorderinganexpa te stay,theCourtmayalsochooseto

          "require that the stay be granted in accordance with the local rules of the reviewing court
          pertainingtoinjunctivereliefandtheissuanceoftemporaryrestrainingorders."La.R.S.§
          49:978.LTheOrleansLocalRuleonDutyJudgesprovideswithregardtoadministrativestays
          thattheyazetobeheardbytheDuty Judgeandcoun 1shouldcertify astonoticeto opposing

          counsel and support the ineparable injury in verißed betition or affidavits, at I(F):
                         Allzequestsforanadministrativestay[mustbepresentedtotheDuty
                         Judge andwillbeprocessedsimilarta[arequestforatemporary
                         restraining order (CCP Art. 3603) in e following manner:

                         anapplicationforanadministrativestaymustbebyaverifiedpetitionof
                         appeal and/or by supporting affidavits stating specific facts which show
                         that immediate and irreparable injury, loss or darnage will result to the
                         applicantbeforetheadversepartyar s attomeycanbeheardin
                                                                    1

          2Decidedjustpriorto the amendment-ofLAPAon June20,1979; rehearing deniedonAugust
          15,1979.
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                          oppositionfo the granting ofthe admi idrative say and the applicant or
                          his attorney must certify to the Court in writing what efforts have been      .
                          madetogivenoticciotheadverseparyoftherequestforan
                          administrativestayorthereasons supportinghisclahnthatnoticewould
                          notbegiventothe adverseparty.
                   As such,tbisCourtcangrantreliefexparte. s milartoatemporaryrestrainingorder, and

          TheOrderprovidedwiththismotiontbenallowsDefendantcounseltobeheardastothe
          continuingstatusofthestayorderiftbeywishto confestit,withtheCourtsettingadateforthis
          hearing.Italso allowsHANOtopassanthathearinglandfile alaterRuleto Showcauseifit
          wants.

                   Counsel's certißcation of notice appears as Bibibit 1.
                 ½ factors Louisiana courts have considered;when determining whether astay ofan
     ·                                                         l
          administrative adjudication decision pending judicialµeviewis appropriate are:
                   (1) Has thepetitioriermade astrong showingtbathe is likely to prevail on the merits?
                   (2) Has the petitioner shownthatwithout suclizeijef, he will sustain ineparable injury?
                   (3) Would the issuance ofthe stay order subst!mtiallyhann other parties interestedin the
                   proceedings?
                   (4) Where does the publicinterestlie?
          Summersv.Sutron,428So.2d1121,1125(La.App. stCir.1983)(citing FfrgintaParroleum

          JobbersAss'n v.Fed Power Comm'n,259 F.2d921,925(D.C.Cir.1958)).
             HL       FACfUAL BACKGROUND
                 ½ following facts set out in the admint*af e record, and confinned by the attached
                                   ·                       l
          verifedPetitionforJudicialReviewofHousing Autllority DecisiontoTerminateHousing
          Assistance arepertinenttoihismemorandutn:

                   HANO is planning to terminate Ms. Alexanddr's housing assistance on December 31,

          2024,becauseofitshearing officer's findingthatshejallegedlydidnotcomplywithaHANO
          requesttosuppiyinformationrelevanttoherincome              thattheinformationsbeprovided was

          falseorincomplete.ButthehearingofEcer'sconcerdwastbatMs.Alexander'staxformalisted

          moreincomethansheteportedto HANO. Atax attorneyprovidedbySLLSthenamendedMs.
          Alexander's taxretums to list the correct income. Bu HANO refusedte alter course based on

          the information in her amendedretutus.




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                 Ms. Alexander is a single mother who lives       th her fourteen-year-old son. She has no

          regulatincome.AsaresultshereliesonahousingsubsidythroughtheHCVprogram,

          administeredbytheHousingAuthorityofNewOrleans.
                 In2021,Ms.Alexanderreportedunemployméntasheronlysourceofincomewbenshe

 .        completedherApplicationforContinuedOccupancyonMay23,202LMs. Alexandermadeno
                                                              1
          wage income in calendar year 2021. On June 21, 2022, Ms. Alexander reported contributions

          fromherbzutherasheronlysomoeofincomentthethne.Ms. Alexanderdidnotreportwhat
          HANO would consider "sporadic income" and therefore not included in Ms. Alexander's annual
          income,sseHANOAdministrativePlansee.8.5.1.3
                 OnMay31,2024,HANOsentMs.Alexanderanoticeproposingtoterminateher
          assistanceforfailureto supplyrequiredinformationandfailuretoprovidetruthfulandeomplete
          information,inviolationofherfamilyobligationsundertbeprogram.Specifically,HANO

          alleged that Ms. Alexander's 2021 and 2022 tax transcripts listed wages and business income
          that she had not reported to HANO.
                 Ms.Alexanderwasnotawareoftbewagesandbusiness income Jeporledonhertax

          transcripts until HANO brought it in her attention. These amounts were not accurate and were

          reported byhertaxpreparer withoutherknowledgeorconsent.

                 Ms.Alexandertimelyrequestedaninformal eatingandretainedSoutheastIouisiana

          Legal Services Low Income Taxpayer Clinic atta          R. Paul Tuttle who amended her 2021 and
          2022tarreturnstoreßectthecorectwages andhusinessincome.Theseamendedreturnswere
          filed with the IRS on July 15, 2024.
                 Theinfonnalhearing washeldonJuly24,2024. Atthehearing,Ms.Alexanderexplained

          thatshedidnotmakethewages andbusinessincomehertaxpreparerreportedinhertexretums                     .
          andsubmittedihe2021 and2022 amendedreturnsintoevidence.
                 HANO nonetheless issued a decision to terminate her housing assistance, effective
          December31. As aresultofthehearingdecisionbasedonerroneousinformation,Ms.Alexander



          ³HousingAuthorityofNeworleans,HousingCholeVoucherProgramAdministrativePlan
          (Sept.1,2023)(HUDApprovedMay25,2023),
          https://hano.org/plans/HANO_HCVP_AdminPlan_9- 023.pd£               ,                      ,
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          andherchildfaceimminentevictionandhomeles                whentheirhousingassistancepayments
          are terminated on December 31, 2024. Because ofMå. Alexander's limited income, she cannot

          affordrent ontheprivatemarket. HANOpays all ofherrentbecauseofherlowincome.Jf

          HANO stopsmakingitspaymentstoherlandlord,herlandlordeanmovetoevictherthefirst

          week of January 2025. She and her child would be faheed to move . She cannot afford to pay for
          astorageunit,soshewouldlikelylosemanyofherb ongingsandfurnitme. Sheandherchild
          will experience severe physical and emotional harm being homeless without anywhere to go.
          AndMs.Alexanderwouldbeunabletoenteranewl aseforthe'foreseeablefutureshould

          HAN0's decision go into effect and later be reversed( This is because she lacks funds to make

          thefirstmonth'arentplusdepositasrequiredtoente(mostnewrental agreements.
             IV.      APPLICABLELAW

                      a. Sundard ofReview-JudicialRevi
                   Thejudicialreviewprocedures oftheLouisianaAdministrativeProcedureAct("LAPA")
          donotapplytolocalhousingauthorities,whicharepblitical subdivisions.La. R.S.40:406(B)
          (exemptinghousing authoritiesfromLAPA); La. R. §49:951(3)(specifyingstateagenciesare
          subjecito theLAPA).However, asset.outbelowLouisianacourtshavezepeatedlyheldthat

          judicialreviewexistsoutsideofLAPA.
                   The Third Circuit thoroughly analyzed the auihorities and applied than to a Housing
          Authoritydecisientoremoveaboardmember                    liketheabsenceofexpress authorityinthe

          Housing Authorities Law for appeal ofa termination lecision,"nowhere in the Housing

          Authority'slawistheresetforththeprocedureforappealofsuchtemoval."Messinav.Rapides
          Par. Police Jury, 373 So. 2d 745, 748 (La. App. 3d Cir. 1979), writ denied, 376 So. 2d 1268 (La.
                                                               I
          1979).41tfollowedinpartFourthCircuitdecisionsre'gardingothernon-statutoryadministrative
          reviews. Gertler y, City ofNew Orleans, 346 So, 2d 228 (La. App. 4th Cir. 1977); River Oaks-
          HymanPlaceHomeownersCivicAss'nv.CityofN                  Orleans,281So.26293(La.App.4th
          Cir. 1973). But it also looked at the analogous AdmWrative Procedme Act and other cases in
          deciding:


          *DecidedjustpriortotheameudmentofLAPAon June20,1979;reheatingdeuiedonAugust
          15,1979.
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                         [T]hemostlogical standardisthatset orthin1heabove, analogous, cases                    .
                         involving school boards, civil service boards, zoning boards, and an
                         executiveorderinanadjudicatorypro eedingundertheAdministrative
                         Procedure Act, to-wit [whether the decision below is]:

                         (1)1n accordance with authority and formalities ofthe law and
                         (2) Supported by substantial evidence in that the action was not arbitrary
                         orcapriciousoranabuse ofdiscretion

          Messina, 373 So.2d at 749; see also Tanner v. Baton Rouge, 422 So.2d 1263 (La, App. 1st Cir.
          1982), writ denied, 429 So. 2d 128 (La. 1983).; Cochran v. City ofBaron Rouge, 399 So.2d 656
          (La. App. 1st Cir. 1981).                                                 .
                                                                i .
                 Moreover,theFourthCircuitacentlyallinne the.existence ofacauseofactionto

           eviewHANO'sterminationdecisions inDMquin v. Ious. Auth, ofNew Orleans,2024-0584
          (La.App.4 Cir.11/13/24),_So.3d__(SupremeCourtwritapplicationfiled).

                 Even where a govermnent body is expressly erempted or excludedf om IAPA, judicial
                                                                I                       .

          review ofthe body's decisions is available. See Collehtar ofRevenus v. Murphy Oil Co., 351 So.

          2d1234,1236(La. App.4Cir.1977)(thoughtheBoard ofTexAppeals' decisionwas
.         specificallyexeinptedfromLAPA,itwasnonethelesssubjecttoreviewforwhethertheBoard

          correctly applied the law and whether its findings of fact were supported by substantial

          evidence).

                 Ms.AlexanderrequeststhattheNoveinber142024,decisionterminatingherhousing
          assistance as ofDecember 31, 2024, be stayed while HANO reconsiders its decision to termimta

          in light ofMs. Alexander's amended tax returns.

                       b. StandardofReview-Stay

    .            Plaintiffrequests thattheNovember18,2024 decisiantarmimagherhousing
          assistancessofDecember31,2024bestayedpendin judicialreview,andthatHousing

          AssistancePayments,toherlandlordcontinuethroughthependencyofthiscase.                                     .

                 Aspreviouslyestablished,the ouisiana                 tiveProceducesActC'LAPA")does

          not apply to housing authorities, but "[w]here no standard ofjudicial review is set out in the law.

          ..themostlogical standardisthatsetforthin... analogous, cases... and... underthe
          ArbiniWmtiveProcedureAct?Messina, 373 So.2dat749.LAPApermits areviewing cotutto

          order "a stay exparte upon appropriate terms ... ? Ila. R.S. § 49:978.I(C)(emphasis added),


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              V.           ARGUMENT
                           a. Ms. Alexander is likely to prevail os the merits of her judicial review claims
                              because HANO's decision to terminate for failure to supply required
                              information, and failure to provide truthful and complete information, was            .
                              incorrect, arbitrary and capricious,    ahnse of discretion, and not based on
                              substantialevidence.                                      .

                     "Anadmistrativedecisionisarbitrary whenthe aamb%ativeagencyhasdinegarded

           evidenceorgiveninappropriateweighttoevidence;t ledecisioniscapriciouswhentheagency's

           conclusionhasnosubstantialbasisoriscontraryto bstantiatedcompetentevidence." Cranford

           v.LouisianaStateBd.ofPrac.NurseRwaminers,99 So.2d590,602(oitingColiseumSquae
           Ass'n v. CityofNeworleans,544So.2d351(La.1989)).
                   Here, Ms. Alexander is likely to succeed in her claim that HANO's decision was arbitrary
           and capricious and not based on substantial evidence. In her administrative hearing, Ms.
           Alexander testified that the wages and business income on her 2021 and 2022 tax returns were
           inaccurate and reported without her knowledge or consent. She filed ernendedreturns prior to the
           hearing,assumingasignificantfinancialliability, an submittedtheamendedreturnsinto
           evidenceatthehearing.Nevertheless,HANOuphelditsdecisiontoterminatebasedonthe

           amountsacknowledgedtobeinconect.rathertbanth correctmunberscontainedinheramended

           retmus.

                   TheadministrativedecisiontoterminateMs.             ander'shousingassistanceisnotbased
           on substantial evidence. Rather, it is based on informåtion known to be false and willfully

           ignores evidence of the cor2ect infonnition contained in Ms. Alexander's amended 2021 and
           2022 tax returns. HANO's disregard of relevant evidence renders its decision arbitrary and
          . capncmus.                                .

                           b. Ms.Alexanderwillsufferirreparabeinjurylfthemationferstayisnot
                              granted.

                   "hreparableinjuryis aninjuryorlosstbate           the adequatelycompensatedinmoney

           damages, crisnotsusceptibletomeasurementhypecuniarystandards."Rasterlingv. Est. of
           Mfiler,184So3d222,229(La.App.4Cir.20I5)(i thecontextofpreliminaryinjunction).
                   Here,thereisno apparentpathto gettingmonetmydamagesfromHANObasedonits

           terminationdecision. Whileabove-cited decisions es        lishthatjudicialreviewisavailable,the

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          questionofwhether public entitles should incur damdges liabili1y forhowthey perform their
          public functions is entirely different and suchreliefis usually unavailable.
                 Louisiana courts have found that evictionandjthe prospectofhomelessness constitute

          ineparableharm.See Williamsv. Hous.Auth. ofCity ofSlidell,20L5-0624 (La.App.1 Cir
          11/9/15),2015 WL6951286,at*3 (findingtbat"evi onofanindigenttenantnompublicor
          subsidized housing has repeatedly been found to pres'ent irreparable injury"); Robbins v. State

          ThroughStatsLandOg,97-671,p.966(La.App.3dCir.12/17/97),704So.2d 61,966,writ

          denied,98-0176,p.9(La.3/20/98),715 So.2d1214 aHirmingfindingofineparablebarm
          sufficienttoenjoinevictionbecause"[1]ossofthe're sonableenjoyment'ofone'shomeoften
          cannotbeadequatelycompensatedbythepaymento money."); Cardonay. Rivera,No.2011

          CA0749,2011 WL5420815, at*5(La.App.Nov.9 2011)(affirmingtrialcourtfindingthat
          plaintiff"wouldbeirreparablyharmedbecausehewfuldbewithouthishomeandhishome
          place."); S. Cotton-OilCo. v. Leathers,50 La.Ann.1 4,135,23 So.201,201(1897) ·

          ("Thelossoftheshelterofone'shouse, iflostbyan             ofinjustice,isanotherinstanceofinjury
          which may notbe compensated forinmoney?)(dictA).

                  IfHANOisnotimmediatelyenjoinedfmmtehninatingMs.Alexander'sHCVProgran

          assistanceonDecember31,2024,Ms. Alexanderan herchildcanbeevictedfornonpayment

          because HANO will not make a housing assistance p yment on January 1, 2025. Ms. Alexander
          cannot afford to pay the rentwithouther HCV Progr rn subsidy because ofherlimiind income.
          Ifevicted, sheandherchildwill experiencehomelessness, loss ofmuchoftbeirfurniture and
        . personalpossessions,andsevetementalanguish.Th threatofirreparablehaan,shouldastay
          order not be issued, is clear.

                      e. Other parties intemted in the proceeding will not be harmed, and the public
                      -   interest favors a stay.

    .             Other parties interested in the proceeding will not be harmed by a stay order. A stay order

          wouldmeanthatHANOwouldberequiredtomaintainthestatus quo, andcontinuetoissue

          Housing Assistance Payments to Ms. Alexander's landlord during this proceeding. However, this
          is ajudicialreviewproceeding,notanordinaryproce          ng. Judicialreviewisbasedonthe               .

          existing(relativelylimited)administrativezecord,thèsiano discovery, andtbereforethematter

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            shouldnottakemorethansixmontbstoresolve. Thisisnotsignificantlylongerthanthetime
            HANO alreadydelayedimplementationwhilewaitin focitsownedministrativeappeal
                                                                      I
            decision.' Any costto HANO is modest compared                 the irreparable hann thatMs. Alexander
            would suffer.

                   The public interest also favors a stay.This case involves alow-income, single mother and
            her fourteen-year-old son who will be rendered homeless without a stay. The public has an

            interestinarlmkiafrativebodiescomplyingwithstat lawandtheirownpolicies,and

            administeringprogramsinaccordancewiththeirmis on.SeeDep'toffub.Safety&Corr., Of
            ofYouth Servs. v. Savoie, 569 So.2d 139, 143 n.2 (Lå. App. 1 Cir. 1990) (citing Cent. La, Elec.

            Co.377So.2d1188)("Thereis astrongpublic                       stinrequiringagovernmentagencyto
            followitsownrules andregulations.")

        .      VLCONCLUSION                                                             .

                   Forthezcasonsoutlinedherein,PIaintiff's                IIcationforastayshould be granted.
            Specifically,astayorderwouldrequireHANOto continuetoissueHousingAssistance

            Payments to Ms. Alexander's landlord, and to contin            all other program benefits pending
            judicialreview.ShouldtheCourtwishtoscheduleth matterforhearingratherthangranting

            reliefexparte,PlaintiffaskstheCourttoschedulea eatingpriortoDecember31,2024,when
            her termination decision is set to go into effect.

                                                           Respectfully submitted:

                                                           SOUTHEAST LOUISIANA LEGAL SERVICES
                                                           By:
                                                           JA           E,LSBA#36237
    .                                                       1340 Poydras St. Suite 600
                                                           New Orleans, Louisiana 70112-2401
                                                           Telephohe:(504)529-1000,ext.612
                                                           Fax: 504)S96-2241
                                                           jm       IIs.org
                                                           Attorne):forPlaintifByronieshaAlexamler




            'TheNoticeofProposed TerminationissnedMay31,2024, withthedecisionissuedNovember
            18,2024.
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                                          CERTIFICATE OF SERVICE

                I,theundersigned, do certifythatacopyoftheabovemotionhasbeenservedupon

     .    Defendant,byfustelassmailand electronic mail        dayof hve Ah ,2024.



                      ·                           Paul Tadsin, LSBA #40069               .
                                                         1             -




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                          CIVILDISTRICT COURTFORTHEPARISHOFORLEANS                                  ·
                                        STATEOFLO SIANA

                NO.                                                                            Division;

                                         BYRONIESHAAL                 ANDER
                                                     VERSUS

                                HOUSING AUTHORITY O NEW ORLEANS

          FILED:
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                                            AFFIDAVIT OF NOTICE

          STATEOFLOUISIANA                                    -
          PARISH OF ORLEANS

                 EEFORE ME, the undersigned Notmy Public, personally came and appeared                           ·
          PAUL TASSIN, who after being duly sworn and deposed did state the following:
              1 Iamastaffattorneyat SoutheastLouisianaLegalServices.
             2. OnDecember23,2024,InotifiedDefendantHousingAuthorityofNewOrleans

                 ("HANO") through counsel Tiffany Boveland that SLLS intended to file suit and seek an
                 emergeneystayin1hismatter.                       .

             3. My cozzespondence is attached as Exhibit A.

          I deoIare under penalty ofperjury that the forgoing statemen           true and conect.


                                                              PaulTassin
          SWORN TO AND SUBSCRIBED
          BEFOREMETIUS 03 DAYOF D(°CP                                 PT        ,2024.                  nuiru,




                          Corina Lopez
              .      NotaryPublic
             Bar No. 40435, ID No. 192002                                         .
                      State of Louisiana
               My Commission is for Life


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              Gmd
  Byronlesha Alexander: Petition for Judicial Re view and Emergency Mot on to Stay
  Paul Tassin <ptassin@sils.org>                                                                   Mon, Dec23.2024at12:40 PM
  To: Tillany Boveland <lboweland@hano.org>
  Cc: Jack Muse <jmuse@slls.org», DavId Wllliams < lwiuiems@sDs,ug>

     Good aftsmoon, Ms, Bove[and,
     Attached please ilnd copies of HCV participant By onlesha Alexander's Pe11tlon for Judicial Re    andTmerggp
     Motlonioslay,whichlamfiling with1he courttoday.
                                              .                                   .                        C">     ''
     Attomey Jack Muse (copied) is counsel of record Írt this case. He vill be back in office Mondey D         0. e
     nowandthenyouarewekomeioconiactmewlt anyquestions. rconcerns.

     Paul Tassin
     StaffAttomey, Housing LawUnit
     Soulheast Loulslana Legal Services                       .
     1340 Paydras St., Sulte 600
     Neworleans, LA70112
     Phone(504)529.1000ext, 814
                                        roNF1DENTIALIT''NOTICE
     THl3 ELECTRONIC MAIL TRANSMISSION ANd THE DOCUM|NTS ACCOMPANYING IT MAY CONTAIN
     CONFIDENTIALINFORMATION BELONGINGTOTHESENDEi'WHICH]S PROTECTED BYTHEATTORNEY/C1.lENT
     PRIVILEGE, THE INFORMATION 15 INTENDED FOR THE USE V THE INDIVIDUAL OR ENTITY NAMED ABOVE. IF
     YOU ARE NOT THE INTENDED REClPIENT, YO l ARE HEREBY NOTIFIED THAT ANY ACTION IN RELIANCE ON
     THE CONTENTS OFTHl5TRANSMISSION [55 RICTLY PROHIBITED. IF YOU RECE1VEDTHISTRANSMI5510NIN
     ERROR, PLEASE NOTIFYUS IMMEDIATELY.

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           241223Emergency Motion and MIS-AlexanderB.pdf
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           241223-PatitionforJudicialReview Alexa derB,pdf
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                                                                                              DIS                 URT



                          CIVILDISTRICTCOURTFORTÉlEPARISH OFORLEANS                                                     .
                                       STATE OF LOUISIANA

               NO                                   . .                                  Division:
                                        BYRONIESHA ALEXANDER
             2 ©4 t L ST y
                                                    VERSUS

                                HOUSING AUTHORITY QF NEW ORLEANS

          FILED:
                                                                        DEPUTYCLERK                       -
                                                         -        l
            PETITION FOR JUDICIAL REVTEW OF HOT TSING AUTHORITY DECTRION TO
                            TERMINATE HOUSINÖ ASSISTANCE            .


                 NOW INTO COURT, through undersigned c unsel, comes BYRONIESHA

          ALEXANDER,apemonoffullageofmajority,who forthispetitionalleges andsays:
O
                                        PRELIMINARYSTATEMENT
                                                             1.

                 PlaintiffByronieshaAlexanderisthesingle              ofachildinhisfreshmanyearof

          highschoolwhoreceiveshousingassistancebenefttsbecauseofherlowincome.


                 Ms. Alexander deperids on this housing assisthnee from the Housing Choice Voucher

          Program which is administered by Defendant Housing Authority ofNew Orleans CHANO3
                                                             3.                                               .

                 Unknowntoher,hertaxpreparerreportedincomeshe didnotearnonher'mcometax

          returns.HANOproposedtotenninateherhousingassistancebasedonthe discrepancybetween

          the income reported to HANO and that reported on her taxes.
                                                             4.

                 Ms. Alexander has amended her taxes to corrèct the income figure reported there. But
          HANO is still terminating her housing assistance because of the 'mcome originally misreported
          on her taxes.

                                                             5.




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                                                                                                     CML
                                                                                                DISTRICT COURT



                 Ms. Alexander seeks judicial review and reversal of HANO's decision as arbitrary and

          capncious.
                                             PARTES AND VENUE
                                                          6.

                 Ms.Alexanderisapersonoftheage ofmajorityresidinginOrleansParish.
                                                          7.

                 Housing AuthorityofNewOrleans("HANO")isapoliticalsubdivisionofthestateof
          Louisiana that operates conventional public housing and issues rental assistance under the

          Housing Choice Voucher ("HCV") Program, commelily known as Section 8.
                                                           8. .
                 VenueisproperinthisDistrictbecausetlienctscomplainedofoccurmlhere,Ms.
          Alexander resides here, and HANO has its offices and conducis its business here.
                                           FACTUAL ALLEGATIONS
                                                           9. .


                 Ms.Alexanderis asinglemotherwho liveswithherfourteen-year-oldson.
                                                           10.


                 Ms.Alexanderhasnoregularincomeandsois unabletopaymarketrentandrelies ona
          housing subsidy through the HCV program, administered by HANO, to be able to afford housing
          forherandherson.                                           .

                                                           1L

                 Under the HCV program, HANO pays Housing Assistance Payments to private landlords
          tosubsidizesome, andsometimesall, ofthecostofrentforparticipatingtenants. Basedonher

          carrent income, HANO currently subsidizes the full amount of Ms. Alexander's rent.
                                                           12.

                 HCV program participants agree to comply w:ith certain farnily obligations, including to
          supplyanyinformation equested by HANO foruseiharegularlyscheduledreexaminationer


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          interim eexaminadon offamilyincomeandcompositioitHANOAdministrativePlansec.15.2.
          Informationtheparticipantsuppliesto.HANOmustbetrue andcomplete.Id.

                                                            13. i

                 Violationofafamilyobligation(otherthanth'oserelatedto certaindrug-related,violent

   .      criminalactivity,andalcoholabuseprohibitions)isaldiscredonarygroundforterminationof
          youcher assistance. HANO Administrative Plan see. 19.3. "In making its decision to tenninate
          assistance, HANO may consider altematives and specific circumstances and may, on a

          case-by-casebasis,choosenottoterminatenssistanc‡"Id.
                                                            14.

                 While sotoe types of criminal activity may be grounds for mandatory termination, those

          grounds are Iimited to offenses not at issue in this case: sex related offenses, manufacture or

          productionofmethamphetamine,illegal drugabuse,            drug-relatedorviolentcrimimi activity.

          HANO Mminierative Plan secs. 19.2.5, 19.2.9, 19.2.11, and 19.2.12, respectively.



                 WhenHANOproposestermination,theparticipantisentitledtonoticeandaninformal

          hearing. HANO Adminisirative Plan seca. 18.5 and 19.9.
                                                            16.

                 HANO'sdecisiononterminationmustbebasedonapreponderanceoftheevidence.
          HANO Administrative Plan sec. 19.7.
                                                            17.

                 HANO has a choice of remedies besides termination. Their choice must account for
          certaintypesofmitigatingfactors:

                 In the case of family-caused errors or program abuse, HANO will take into consideration:
                      • Theseriousnessoftbeoffenseandtheextentofparticipationorculpabilityof
                         individualfamilymembers;
                     •   Any special circumstances surrounding the case;
                     - Anymitigatingeircumstancesrelatedtotbedisabilityofafamilymember;
                     • Theeffectsofapatticularremedyonfamilymemberswhowerenotinvolvedin
                         theoffense.

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          HANOAdministrativePlansec.20,7(emphasis added).
                                                         18.

                OnMay31,2024,HANO sent·Ms.Alexande anoticeproposingto renninatcherfrotn
          theHCVpmgramfur(1)failureto supplyrequired                ation, and (2)failuretoprovide
          truthfulandcornpleteinformation, inviolationofherfamilyobligationsundertbeprogram.
                                                         19.

                 The allegations were based on Ms. Alexander's 2021 and 2022 tax retums, which listed

          wagesandbusiness incomethatshehadnotreporteditoHANO.
                                                         20. .

                 TaxpreparersinLouisianaareunregulated andtixpreparerfraudiscommon.
                                                         2L

                 Taxp eparers oftenfalselyreportuneamedincomeforlow incomeclients, inorderto

          qualifyforthe"EamedIncomeCredit"andgenerateataxrefundorenIargeenexistingtax

          refund. Manypreparers doingsooftenkeepmuchoftheextrarefundforthemselves.
                                                         22.

                 Ms. Alexander was not aware of the wage and business income reported to the IRS until

          HANO brought it to her attention. The wages and business income were not accurate and were

          reported by her tax preparer without her knowledge qr consent.   .

                                                          23. '

                 Ms.AlexandertitnelyrequestedaninformalhearingonHANO'sterminationproposal.
                                                          24.

                 Ms. George contacted Southeast Louisiana L gal Services Low Income Tax Clinic

          attomey R. Paul Tuttle. At Ms. Alexander's request, Mr. Tuttle prepared amended tax retums for
          2021 and 2022. The amended returns were filed on Jùly 15, 2024, in advance of Ms. Alexander's
          informal hearing.

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                                                             25.

                    Mr.'ltttledeterminedthatbyamendingherrËturns,Ms. Alexander wouldincuradebtto

              theIRSofatleast$5,000,pluspossible interestandpenalties.
                                                                    I
                                                             26. |



                    AtherHANO appealhearing, Ms. Alexa                  providedthehearingofficerwithher

              amendedreturasandproposedeontinuingthehearin sothatitcouldbeaccuratelydetermined
              whatamount,ifany,shehadbeenoverpaidinhousingassistance.

                                                              27. .

                     OnNovember27,2024,HANO e-mailedMs Alexandernotice ofits decision dated
              November18,2024,to upholdtbetenninationofhousingassistanceforherandherson.Acopy
              ofthe decisionletterwas laterdeliveted bymailonDecernber5,2024.
                                                              28. '

                     Thehearingofficersettheeffectivedateoftheterminationfor December31,2024.

                                                IRREPARABLE M.lTTRY

                                                              29.

                     Ms. Alexander and her 14 year-old son have t o alternative housing available and cannot
              affordtopaymarketrate ent.They fnce imminentepetion andbomelessnesswhentheir
              housing assistance paymettts are terrninated on December 31, 2024,

                                                              30.

                     Shecannotaffordtopayforastorageunit, soishewouldlikelylosemanyofher
              belongings and furniture

                                                              31.
          ·                                                             l

                      Further, Ms. Alexander would be unable to enter a new lease for the foreseeable fntare
                                                                        I
              should HANO's decision go into effect and later be úversed. This is because she lacks funds to
              topayfirstmonth'areatplusdepositasrequiredtoeËtermostnewi·entalagreements.




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                                                                                                 DISTRICT COURT



                                           FIR ST CLAIM FOR RFLIEF

           The Hearing Officer's decision is arbitrary and capricious because its finding of facts are
           based on income reported in her original tax retdrns which Ms, Alexander acknowledged
                 to be wrong and assumed a dgnificant liability to correct before the hearing
                                                            32.


                 PIaintiffre-alleges andincorporatesbyreferenceallallegationsinallpreceding
          paragraphs.

                                                            33.

                 HANO's findings of fact included that Ms. Alexander failed to report $14,690 of wages
          forcalendaryear2021 whensbesubmittedherApplicationfor ContinuingOccupancyonMay
          23,202L



                 Ms. Alexander did not make $14,690 in wages in 2021 and did not tell her tax preparer
          Satshedd
                                                             34.
                 Ms. Alexander itmnediately took corrective action when she learned of the false

          representation of her income, assutning a significant financial liability to do so.
                                                             35. .

                 Whenshe filedherarnendedreturnfor2021 nJuly 15,2024, shereportedthesame
          amount she certified in her Application for Continuing Occupancy: zero.

                                                             36.
                 This information was available at the hearing, and the amended 2021 tax zeturn was
          submitted into evidence.
                                                             37.

                 Ms. Alexander testiñed that she did not make $14,690 in wages in 2021 and that tbat
          numberwasprovidedio theIRSwithoutherknowledgeorconsent.
   .                                                         38. ,



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                  Nevertheless the decision to tenninate Ms. Alexander's housing assistance is premised
          ontheemmeousnumbers onthe original.

                                                               39.
                  The hearing officer's iindings of fact also included that Ms. Alexander failed to report
          $9,918 in wages and $6,364 and business income for calendar year 2022 when she submitted her
          Application for Continuing Occupancy on June 21, 2022.
                                                               40.

                  Ms.Alexanderdidnoteatu$9,918inwages andS6,364inbusinessincomeincalendar

          year2022 anddidnottellbertaxpreparertbatshe did.
                                                               4L

                  Ms. Alexander reported her income as required when she certified her Application for

          ContinuingOccupancyon June2132022.
                                                               42.

                  She assumed a significant fmancial liability tö amend the 2022 retums before the hearing.
                                                               43.
                  Thecorrectnumbers wereprovidedtothehearingollicerthroughheramended2022

          returnstbatwere submittedintoevidence.

                                                               44.
                  Thehearingofficerignoredthosenumbersantlinsteadreliedonínflatedamountsthat

          Ms.Alexanderacknowledgedtobe inaccurate andprovidedevidence ofheractualincomefor
          2022.                                            .

                                                               45.

                  The decision to terminate Ms. Alexander's housing assistance is an abuse of direction e. t
          basedontbearbitraryandcapricious decisientorelyþnthefalsereportingofataxpreparer
          instead of her actual income from calendar years 2021 and 2022.
                                          SECOND CLAIMFORRELIFF




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               HANO's decision is arbitrary and capricious because Ms. Alexander was terminated for
                huproperconduct forwhichprogram terminationisnotauthorized, rather than for
                                                unreported income.
                                                                46.               .

          .          Plaintiff re-alleges and incorporates by reference all allegations in all preceding

          Paragraphs.
                                                                47.

                     Ms.Alexanderwasnotierminatedfromthep grambecauseofunreportedincome.She

          wasterminatedbecauseherincometaxformareportedherincome 'maccurately, eventhough she
          was not the person who made this error.                     .

                                                                48. =

                     TerminationframtheHCVprogram ispennit edonlyforylolationofspecificprogram
              requirements.Terminationforcrimbl activityislimitedto offensesinvolvingdrugs,violence,
              or sexual abuse.

                                                       .        49. |
                     Misreportingofincomeonincometaxforms,jevenifithadbeendonebyMs.Alexander,

              isnotan authorizedbasis forimrminationfromtheprogram.
                                                                50. ,

                     Upon information and belief, HANO's claim that tbe termination is based on unreported
                                     .                                !
              income is pretextual, and HANO understands the er or lies in the nonexistent income reported by

              Ms. Alexander's tax preparer, not in the income infoñnation she reported to HANO.
                                                                51. I


                     Asaresult, Ms.Alexanderisnotbeingterminatedforanyalleged violationofherfamily

              obligations. Ms.Alexanderisbeingterminatedforso'meoneelse's conduct,whichhas
              victimizedherandherfamilyandtbatis notenumerëedinHANO'sadministrativeplan.
              Purporting to base her termination on a failure of faniily obligations is both arbitrary and

              capricious andanabuseofdirection
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                                                                                                            DISTRICT COURT



                                           TmRD CI.ATMFORRFJJEF

             The Hearing Officer's decision is arbitrary and capricious and an abuse of discretion
          liecause it did not consider mitigating factors, as               quired by HANO's Administrative Plan.
                                                             52.
                                                                    1


                 PlaintiHre-alleges and incorporates by refereòce all allegations in all preceding

          Paragraphs.
                                                             53.

                 HANO's A dminivtrative Plan requires that HANO consider the following when

          detennining whether to terminate assistance for family caused eanre and/or pmgram abuse:
                        -   Theseriousnessofthe offenseandthe!extentofparticipationorculpabilityof
                            individual family members;
                        - Any special circumstances sumnmding the case;

                        -   Anymitigatingeircumstancestelaindiothedisabilityofafamilymember;and
                                                                        1

                        -   Theefects ofaparticularremedyon familymemberswhowerenotinvolvedin
                            the offeuse.
          HANO Administrative Plan sec.20.7 (emphasis added).
                                                              54. .

                  The hearing ollicer failed to consider any of these factors, including the fact that Ms.
          Alexander'schild wouldfaceevictionandhomelessriessiftheterminationwasupheld.
                                                              55.
                  Thehearingofficeraiso failedtoconsiderthatMs.Alexanderwasavictimoftax

          preparerfraud, andtockstepstocorrecitheerroronhertaxretums assoonasitwasbroughtto

          her attention, despite incurring liability to the IRS.

                                                              56. I

                  HANO's faihue to follow its own policy that                 uires consideration of the above

          mitigating factors renders the hearing officer's decisipn arbitrary and capricious and an abuse of
          discretion.                                                                                             .


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                                         FOURTIICLAIM PhR RELIEF

             HANO'S Decision to Terminate Åssistance is Based on an Arbitrary and Capricious
                       ShifungoftheBurdenRatherthanSubstantialEvidence

                                                            57.
                 Plaintiff re-alleges and incorporates by reference all allegations in all preceding
                                                                      I
          paragraphs.
                                                            58.

                 The decision to uphold the termination of Ms. Alexander's assistance cites to section 19.7

          of it's administrative, "Criteria for Deciding to Termitiate Assistance":
                 HANOwillierminateassistanceifapreponderance ofevidenceindicatesthata
                 household member has engaged in the activity. "Preponderance of the evidence" is
                 defmedasevidencewhichisofgreater weightormoreconvincingthantheevidence
                 which is offered in opposition to it; that is evißence which as a whole shows that the fact
                 soughttobeprovedismoreprobable.thannot.

                                                            59. ,
                 Thehearingofficerthenstatesthataviolationofafamilyobligation, specificallyafailure
          10 supplyrequiredinformation,was establishedbecauseMs.Maranderdidnotprovsthat

          "incomes reporind on your IRS tax retums were prepäred, submitted and processed in a

          fraudulent manner to the IRS."
                                                            60.                                          .

                 The only evidence put forward by the hearing officer is that "[t]he IRS needs your

          signaturewhenataxreturnispreparedpriorto submission*.
                                                            61.

                 Thirdputies canbeauthorizedto signadocumentonataxpayer'sbehalfanditis

          common practice for tax preparers to assume such authority.

                                                            62.

                 The decision to terminate Ms. Alexander's hésing assistance for not meeting a burden
          she does not carry to prove the wrongdoing of someo'ne else is arbitrary and capricious, an abuse
          of discretion and not supported by substantial evidence.


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                                                                                                  DISTRICT COURT



                                              PRAYER FOR RELTEF

          WHEREFOREthePlaintiffrespectfullytequeststbatthis Comt:

             a. Allow Plaintifftofle this actionandproceedhformapauper/s;
             b. StayHANO'aproposeddecisiontoterminatePlaintiffByronieshaAlexander'shousing
                  assistancependingtheoutcomeofthis case,oriftemanded,pendinganynew
                  namideativehearingdecisiononherease;

             c. OrdertheDefendantto filetbecompleterecordofitsadministrativereviewofMs.

                  Alexander's proposedterminationfromtheHCVprogramforthecourt'areview;

             d. After reviewofthezecordandhearinganya                  tsofcounsel,reverseDefendant's
                  decision as not based on substantlal evidence, arbitrary, capricious, and an abuse of

                  discretion; and

             e. Tax costs oftbis proceeding to the Defendant; and
             f. AwardotherreliefasthisComtmaydeemtobejustandproper.

                                                        Respectfully submitted:

                                                        SOUTHEASTLOUISlANALEGALSERVICES


                                                        By:

                                                        JACK MUSE, LSBA #36237
                                                        1340 Poydras St. Suite 600
                                                        New Orleans, Louisiana 70112
              _                                         Telephone: (504) 529-1000, ext. 612
                                                        Fax: (504) 596-2241
                                                        Email: iinnse@sils.ore

                                                        AttorneyforPlaintifByronteshaAlexander



          Please Serve:

          HousingAuthorityofNewOrleans
          Through Counsel, Tiffany Boveland
          4100 Touro St.
          New Orleans, LA 70122



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                                                                                                          ML




                                                 VERIFICA1kON

          STATE OF LOUISIANA
          PARISH OF ORLEANS
                 BEFORE ME, the undersigned authority, personally carne and appeamd BYRONIESHA

          ALEXANDER who, being by me first duly swom, deposed; that she is the plaintiff in the

          attached Petition, and that all allegations of fact made in the Petition, except those allegations
          expresslymadeoninformationand belief; affantbelievestobetrue.



                                                               B7RO        SHAALEXÃNDER

          SWORN TO AND SUBSCRIBED
          BYMEONTHIS ZBN DAYOF                             de/m       F/          ·      .2024.




          NOTARY PUBLIC                                                 Paul R. Tassin
                                                                         Noiary Public
                                                                     Notary ID No.187187
                                                                    Orleans Parish, Louisiana




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                                       Exhibit D




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                                        UNITEDSTATES DISTRICT COURT                              DISTRICTCOURT

                                       EASTERN DISTRICTOFLOUISIANA


          BYRONIESHA ALEXANDER,                            CIVILACTION NO.

                 Plainti#

          VERSUS                                           JUDGE:

          HOUSING AUTHORITY OF NEW
          ORLEANS,

                 Defendant                                 MAGISTRATE JUDGE:


                              CERTIFICATEOFæMPLIANCEWITH28U.S.C.51446(d)
                            I be eby certify that a copy of the foregoing Notice of Removal has been sent via

           einail and placed in the United States Mail, with proper and sufficient postage affixed, addressed

           to:

                            Ms. Bymniesha Alexander
                            ThroughherAtørneyofRewrd:
                            Jack Muse
                                    Of
                            SoutheastLouisianaLegalServices
                            1340 Poydras Stteet, Suite 600
                            NewOrleans,Louisiana70ll2
                            E-mail:jmuse@slls.org

                            I he eby further certify that a copy of the foregoing Notice of Removal has also

           been submitted to the Clerk of the Civil District Court for filing in the record in the state court

           action entitled: "Byroniesha Alexander v. Housing Authority of New Orleans," bearing case

           number 2024-11594 on the docket of the Civil District Court for the Parish of Orleans, State of

           Louisiana.

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          Date:January 8,2025                         Respectfullysubmitted,                   DISTRICTCOURT
                                                      /s/KathrvnM.Knight
                                                      KathrynM. Knight[T.A.],La.BarNo.28641
                                                      RachelW.Wisdom,La.BarNo.21167
                                                      Katelyn N. McGibney, La. Bar Roll No. 39979
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                        I hereby certify that a copy of the above and fo egoing Certificate of Compliance

          with28U.S.C.§1446(d)hasbeenserveduponallcounselofrecordbyplacingsameintheUnited

          States mail, postage prepaid and properly addressed and by e-mail, this 8th day of January, 2025.
                                                               Is/ Kathryn M Knight




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